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                        UNITED STATES COURT OF APPEALS
                           FOR THE FEDERAL CIRCUIT
                                   717 MADISON PLACE, N.W.
                                   WASHINGTON, D.C. 20439

 PETER R. MARKSTEINER                                                          CLERK’S OFFICE
    CLERK OF COURT                                                              202-275-8000


                                        June 29, 2020

                                NOTICE OF DOCKETING


 Federal Circuit Docket No.: 2020-1933

 Federal Circuit Short Title: Biogen International GmbH v. Mylan Pharmaceuticals
 Inc.

 Date of Docketing: June 29, 2020

 Originating Tribunal: United States District Court for the Northern District of West
 Virginia

 Originating Case No.: 1:17-cv-00116-IMK-JPM

 Appellants: Biogen International GmbH, Biogen MA, Inc.



     A notice of appeal has been filed and assigned the above Federal Circuit case number.
 The court's official caption is included as an attachment to this notice. Unless otherwise
 noted in the court's rules, the assigned docket number and official caption or short title
 must be included on all documents filed with this Court. It is the responsibility of all
 parties to review the Rules for critical due dates. The assigned deputy clerk is noted
 below and all case questions should be directed to the Case Management Team at (202)
 275-8055.

 CERTIFIED LIST: The agency or arbitrator is directed to forward the certified list as
 promptly as possible but no later than 40 days from the date of this notice.

    The following documents are due within 14 days of this notice:

    x   Entry of Appearance. (Fed. Cir. R. 47.3.)
    x   Certificate of Interest. (Fed. Cir. R. 47.4.)
    x   Docketing Statement. Note: The Docketing Statement is due in 30 days if the
        United States or its officer or agency is a party in the appeal. (Fed. Cir. R. 33.1 and
        the Mediation Guidelines)
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               Case: 20-1933    Document: 1-1     Page: 2   Filed: 06/29/2020              (2 of 66)


    x   Statement Concerning Discrimination in MSPB cases. (Fed. Cir. R. 15(c).)

 PARTY FILING AND CONTACT INFORMATION: Each counsel representing a party
 must be a member of the court's bar and registered for the court's electronic filing
 system. Fed. Cir. R. 25(a). Attorneys whose contact information has changed should
 make all changes through their PACER service center profile.

 Unrepresented parties must submit documents intended for filing to the court in paper.
 However, motions and letters may be emailed to prose@cafc.uscourts.gov or faxed to 202-
 275-9678. Unrepresented parties changing contact information must submit a letter or
 updated Entry of Appearance with the new contact information.

 OFFICIAL CAPTION: The court's official caption is attached and reflects the lower
 tribunal's caption pursuant to Fed. R. App. P. 12(a), 15(a), and 21(a). Please review the
 caption carefully and promptly advise this court in writing of any improper or inaccurate
 designations.

                                              /s/ Peter R. Marksteiner
                                              Peter R. Marksteiner
                                              Clerk of Court

                                              By: L. Nichols, Deputy Clerk

 Attachments:

    x   Official caption
    x   Paper Copies of General Information and Forms (to unrepresented parties only):
           o General Information and Overview of a Case in the Federal Circuit
           o Entry of Appearance
           o Informal Brief
           o Motion and Affidavit for Leave to Proceed in Forma Pauperis (only to filers
               owing the docketing fee)
           o Supplemental in Forma Pauperis Form for Prisoners (only to filers in a
               correctional institution)
           o Statement Concerning Discrimination




 cc: United States District Court for the Northern District of West Virginia
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                                 Official Caption


              BIOGEN INTERNATIONAL GMBH, BIOGEN MA, INC.,
                           Plaintiffs-Appellants

                                        v.

                       MYLAN PHARMACEUTICALS INC.,
                              Defendant-Appellee



                                  Short Caption

              Biogen International GmbH v. Mylan Pharmaceuticals Inc.
Case 1:17-cv-00116-IMK-JPM Document 422 Filed 06/29/20 Page 4 of 66 PageID #: 6706

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                                      1-2 Filed
                                            Page:  1 Filed:
                                                06/23/20    06/29/2020
                                                         Page                      (4 of 66)
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                       IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
   _______________________________________
                                          )
   BIOGEN INTERNATIONAL GMBH              )
   and BIOGEN MA INC.,                    )
                                          )
               Plaintiffs,                )      C.A. No. 17-116-IMK
                                          )
         v.                                )
                                          )
   MYLAN PHARMACEUTICALS INC.,             )
                                          )
                                          )
               Defendant.                  )
   _______________________________________)

                  BIOGEN’S NOTICE OF APPEAL TO THE UNITED STATES
                    COURT OF APPEALS FOR THE FEDERAL CIRCUIT

          NOTICE IS GIVEN that Plaintiffs Biogen International GmbH and Biogen MA Inc.

   appeal to the United States Court of Appeals for the Federal Circuit from the Final Judgment

   entered in this action on June 22, 2020, (D.I. 413) and from any and all other orders, decisions,

   rulings, findings, and conclusions underlying and related to that judgment, including but not

   limited to the June 22, 2020, Order Granting Motion for Final Judgment (D.I. 402) and the June

   18, 2020, Memorandum Opinion and Order Making Findings of Fact and Granting Judgment in

   Favor of the Defendant, Mylan Pharmaceuticals Inc. (D.I. 400).

          The docketing fee of $500 required by 28 U.S.C. § 1913, and the Notice of Appeal fee of

   $5 required by 28 U.S.C. § 1917, totaling $505, are being submitted herewith.



    Dated: June 23, 2020                                Respectfully submitted,

                                                        /s/James F. Companion_________________
                                                        James F. Companion (#790)
                                                        Sandra K. Law (#6071)
                                                        Schrader Companion Duff & Law, PLLC



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                                                               2 of 2 PageID #: 6548




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Case 1:17-cv-00116-IMK-JPM Document 422 Filed 06/29/20 Page 6 of 66 PageID #: 6708
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                                                                                 APPEAL,CLOSED

                                   U.S. District Court
                     Northern District of West Virginia (Clarksburg)
                 CIVIL DOCKET FOR CASE #: 1:17-cv-00116-IMK-JPM
                                   Internal Use Only


 Biogen International GMBH et al v. Mylan Pharmaceuticals   Date Filed: 06/30/2017
 Inc.                                                       Date Terminated: 06/22/2020
 Assigned to: District Judge Irene M. Keeley                Jury Demand: None
 Referred to: Magistrate Judge James P. Mazzone             Nature of Suit: 835 Patent - Abbreviated
 Cause: 35:271 Patent Infringement                          New Drug Applications (ANDA)
                                                            Jurisdiction: Federal Question
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                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Brandon M. White
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Courtney M. Prochnow
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           David L. Anstaett
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Emily J. Greb
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Gordon H. Copland
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Michael A. Chajon
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Shannon M Bloodworth
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           William J O'Brien
                                                           (See above for address)




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                                                           ATTORNEY TO BE NOTICED


  V.
  Counter Defendant
  Biogen International GMBH                  represented by Andrew E. Renison
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           Frank X. Duff
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           James F. Companion
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           James B. Monroe
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jeanette M. Roorda
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Lauren J. Dowty
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Li Feng
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Megan L. Meyers
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED




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                                                           Paul W. Browning
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Sandra K. Law
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           William F Lee
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Aaron G. Clay
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           John E. Nappi
                                                           (See above for address)
                                                           TERMINATED: 05/08/2020
                                                           PRO HAC VICE

                                                           Laura P Masurovsky
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Sanya Sukduang
                                                           (See above for address)
                                                           TERMINATED: 03/03/2020

                                                           Travis L. Zeik
                                                           (See above for address)
                                                           TERMINATED: 09/17/2018
  Counter Defendant
  Biogen MA, Inc.                            represented by Andrew E. Renison
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                           Frank X. Duff




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                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           James B. Monroe
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Jeanette M. Roorda
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Lauren J. Dowty
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Li Feng
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Megan L. Meyers
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Paul W. Browning
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Sandra K. Law
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           William F Lee
                                                           (See above for address)
                                                           LEAD ATTORNEY




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                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Aaron G. Clay
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             James F. Companion
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             John E. Nappi
                                                             (See above for address)
                                                             TERMINATED: 05/08/2020
                                                             PRO HAC VICE

                                                             Laura P Masurovsky
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Sanya Sukduang
                                                             (See above for address)
                                                             TERMINATED: 03/03/2020
                                                             PRO HAC VICE

                                                             Travis L. Zeik
                                                             (See above for address)
                                                             TERMINATED: 09/17/2018


  Date Filed             #          Docket Text
  06/30/2017                    1   COMPLAINT against Mylan Pharmaceuticals Inc., filed by
                                    Biogen MA, Inc., Biogen International GMBH. (Attachments: #
                                    1 Exhibit A - 376 Patent, # 2 Exhibit B - 999 Patent, # 3 Exhibit
                                    C - 001 Patent, # 4 Exhibit D - 840 Patent, # 5 Exhibit E - 393
                                    Patent, # 6 Exhibit F - 514 Patent, # 7 Civil Cover Sheet)(lmm)
                                    (Entered: 06/30/2017)
  06/30/2017                    2   Filing fee: $ 400.00, receipt number WVNW001714 (lmm)
                                    (Entered: 06/30/2017)
  06/30/2017                    3   REPORT to USPTO on the filing or determination of an action
                                    regarding re 1 Complaint. (lmm) (Entered: 06/30/2017)
  06/30/2017                    4   SUPPLEMENTAL INFORMATION FOR PATENT CASES
                                    INVOLVING AN ABBREVIATED NEW DRUG
                                    APPLICATION (ANDA) filed by Biogen International GMBH,




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                                    Biogen MA, Inc. (lmm) (Entered: 06/30/2017)
  06/30/2017                    5   Corporate Disclosure Statement by Biogen International GMBH,
                                    Biogen MA, Inc. identifying Corporate Parent Biogen Inc. for
                                    Biogen MA, Inc. (lmm) (Entered: 06/30/2017)
  06/30/2017                    6   Corporate Disclosure Statement by Biogen International GMBH,
                                    Biogen MA, Inc. identifying Corporate Parent Biogen Inc.,
                                    Corporate Parent Biogen Luxembourg Holding Sarl, Corporate
                                    Parent Arrowpark Interseas Limited, Corporate Parent Biogen
                                    MA Inc. for Biogen International GMBH. (lmm) (Entered:
                                    06/30/2017)
  06/30/2017                        (Court only) Staff note. Attorneys Companion and Zeik admitted
                                    to practice in NDWV. (lmm) (Entered: 06/30/2017)
  06/30/2017                    7   VERIFICATION OF ATTORNEY ADMISSION for Attorney
                                    Feng. (lmm) (Entered: 06/30/2017)
  06/30/2017                    8   VERIFICATION OF ATTORNEY ADMISSION for Attorney
                                    Monroe. (lmm) (Entered: 06/30/2017)
  06/30/2017                    9   VERIFICATION OF ATTORNEY ADMISSION for Attorney
                                    Renison. (lmm) (Entered: 06/30/2017)
  06/30/2017                   10 VERIFICATION OF ATTORNEY ADMISSION for Attorney
                                  Sukduang. (lmm) (Entered: 06/30/2017)
  07/10/2017                   11 MOTION for Leave to Appear Pro Hac Vice for James B.
                                  Monroe by Biogen International GMBH, Biogen MA, Inc..
                                  (Attachments: # 1 Text of Proposed Order Text of Proposed
                                  Order - James B. Monroe)(Companion, James) (Entered:
                                  07/10/2017)
  07/10/2017                   12 MOTION for Leave to Appear Pro Hac Vice for Andrew E.
                                  Renison by Biogen International GMBH, Biogen MA, Inc..
                                  (Attachments: # 1 Text of Proposed Order Text of proposed
                                  Order - Andrew E. Renison)(Companion, James) (Entered:
                                  07/10/2017)
  07/10/2017                   13 MOTION for Leave to Appear Pro Hac Vice for Li Feng by
                                  Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                  1 Text of Proposed Order Text of Proposed Order - Li Feng)
                                  (Companion, James) (Entered: 07/10/2017)
  07/10/2017                   14 MOTION for Leave to Appear Pro Hac Vice for Sanya
                                  Sukduang by Biogen International GMBH, Biogen MA, Inc..
                                  (Attachments: # 1 Text of Proposed Order Text of Proposed
                                  Order - Sanya Sukduang)(Companion, James) (Entered:
                                  07/10/2017)
  07/10/2017                   15 Pro Hac Vice Filing fees for James Monroe, Andrew Renison,
                                  Li Feng and Sanya Sukduang: $ 800.00, receipt number



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                                    WVNW001723 (jss) (Entered: 07/10/2017)
  07/11/2017                   16 ORDER granting Li Feng's 13 Motion for Leave to Appear Pro
                                  Hac Vice. Signed by District Judge Irene M. Keeley on 7/11/17.
                                  (jss) (Entered: 07/11/2017)
  07/11/2017                   17 ORDER granting James Monroe's 11 Motion for Leave to
                                  Appear Pro Hac Vice. Signed by District Judge Irene M. Keeley
                                  on 7/11/17. (jss) (Entered: 07/11/2017)
  07/11/2017                   18 ORDER granting Andrew Renison's 12 Motion for Leave to
                                  Appear Pro Hac Vice. Signed by District Judge Irene M. Keeley
                                  on 7/11/17. (jss) (Entered: 07/11/2017)
  07/11/2017                   19 ORDER granting Sanya Sukduang's 14 Motion for Leave to
                                  Appear Pro Hac Vice. Signed by District Judge Irene M. Keeley
                                  on 7/11/17. (jss) (Entered: 07/11/2017)
  07/14/2017                   20 *SEALED* SUMMONS ISSUED as to Mylan Pharmaceuticals
                                  Inc.. (orig. +1 to counsel for service) (cnd) (Entered:
                                  07/14/2017)
  07/14/2017                   21 NOTICE of Appearance by William J O'Brien on behalf of
                                  Mylan Pharmaceuticals Inc. (O'Brien, William) (Entered:
                                  07/14/2017)
  07/14/2017                        (Court only) Staff notes - Per check of the clerks records
                                    attorneys Gordon Copland and William O'Brien are admitted to
                                    the NDWV bar. (jss) (Entered: 07/14/2017)
  07/17/2017                   22 FIRST ORDER AND NOTICE REGARDING DISCOVERY
                                  AND SCHEDULING:

                                    ***NOTICE TO ATTORNEYS*** : Pursuant to Rule 7.1 of
                                    the Federal Rules of Civil Procedure, ALL Non-governmental
                                    CORPORATE parties must file a DISCLOSURE
                                    STATEMENT with the Court. Forms are available on the
                                    Court's Web Site at http://www.wvnd.uscourts.gov/forms.htm

                                    Rule 26 Meeting to be held by 9/15/2017. Rule 26 Meeting
                                    Report due by 9/29/2017. Scheduling Conference set for
                                    10/13/2017 10:30 AM in Clarksburg District Judge Courtroom,
                                    2nd Floor before District Judge Irene M. Keeley. Discovery due
                                    by 10/20/2017. Signed by District Judge Irene M. Keeley on
                                    7/17/17. (kd) (Entered: 07/17/2017)
  07/18/2017                   23 Corporate Disclosure Statement by Mylan Pharmaceuticals Inc.
                                  identifying Corporate Parent Mylan Inc., Corporate Parent
                                  Mylan N.V. for Mylan Pharmaceuticals Inc... (O'Brien, William)
                                  (Entered: 07/18/2017)
  07/20/2017                   24 SUMMONS Returned Executed by WV Secretary of State as to




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                                    Mylan Pharmaceuticals Inc. served on 7/17/2017. (cnd)
                                    (Entered: 07/20/2017)
  08/07/2017                   25 MYLAN'S ANSWER to 1 Complaint, and, COUNTERCLAIM
                                  against Biogen International GMBH, Biogen MA, Inc. by Mylan
                                  Pharmaceuticals Inc..(Copland, Gordon) (Entered: 08/07/2017)
  08/08/2017                   26 Corporate Disclosure Statement by Biogen International GMBH.
                                  (Companion, James) (Entered: 08/08/2017)
  08/17/2017                   27 MOTION for Leave to Appear Pro Hac Vice (Shannon M.
                                  Bloodworth) by Mylan Pharmaceuticals Inc.. (Attachments: # 1
                                  Text of Proposed Order)(Copland, Gordon) (Entered:
                                  08/17/2017)
  08/17/2017                   28 MOTION for Leave to Appear Pro Hac Vice (Courtney M.
                                  Prochnow) by Mylan Pharmaceuticals Inc.. (Attachments: # 1
                                  Text of Proposed Order)(Copland, Gordon) (Entered:
                                  08/17/2017)
  08/17/2017                   29 MOTION for Leave to Appear Pro Hac Vice (Brandon M.
                                  White) by Mylan Pharmaceuticals Inc.. (Attachments: # 1 Text
                                  of Proposed Order)(Copland, Gordon) (Entered: 08/17/2017)
  08/17/2017                   30 Pro Hac Vice fee for C. Prochnow, B. White, and S.
                                  Bloodworth: $ 600.00, receipt number WVNC001953. (cnd)
                                  (Entered: 08/17/2017)
  08/18/2017                   31 ORDER granting Brandon M. White's 29 Motion for Leave to
                                  Appear pro hac vice. Signed by District Judge Irene M. Keeley
                                  on 8/18/17. (jss) (Entered: 08/18/2017)
  08/18/2017                   32 ORDER: It is ORDERED that Shannon Bloodworth's 27
                                  Application/Motion for Leave to Appear Pro Hac Vice is hereby
                                  GRANTED. Signed by District Judge Irene M. Keeley on
                                  8/18/17. (cnd) (Entered: 08/18/2017)
  08/18/2017                   33 ORDER granting Courtney M. Prochnow's 28 Motion for Leave
                                  to Appear pro hac vice. Signed by District Judge Irene M.
                                  Keeley on 8/18/17. (jss) (Entered: 08/18/2017)
  08/28/2017                   34 STIPULATION re extension to reply to counterclaims by
                                  Biogen International GMBH, Biogen MA, Inc.. (Companion,
                                  James) (Entered: 08/28/2017)
  09/01/2017                   35 MOTION to Stay This Action in the Northern District of West
                                  Virginia or in the Alternative Coordinate Discovery with the
                                  Related District of Delaware Actons by Biogen International
                                  GMBH, Biogen MA, Inc.. (Companion, James) (Entered:
                                  09/01/2017)
  09/01/2017                   36 MEMORANDUM In Support by Biogen International GMBH,
                                  Biogen MA, Inc. re 35 MOTION to Stay This Action in the



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                                    Northern District of West Virginia or in the Alternative
                                    Coordinate Discovery with the Related District of Delaware
                                    Actons . (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                                    C, # 4 Exhibit D - Face Sheet Only)(Companion, James)
                                    (Entered: 09/01/2017)
  09/01/2017                   37 *SEALED* MOTION to Seal Exhibit D to Plaintiffs' Motion to
                                  Stay this Action in the Northern District of West Virginia or in
                                  the Alternative Coordinate Discovery With the Related District
                                  of Delaware Actions by Biogen International GMBH, Biogen
                                  MA, Inc.. (Attachments: # 1 Exhibit D - To Be Filed Under
                                  Seal, # 2 Text of Proposed Order)(Companion, James) (Entered:
                                  09/01/2017)
  09/06/2017                   38 *SEALED* *** SEALED *** by Mylan Pharmaceuticals Inc..
                                  (O'Brien, William) (Entered: 09/06/2017)
  09/14/2017                   39 Joint MOTION to Extend Dates by Biogen International
                                  GMBH, Biogen MA, Inc.. (Attachments: # 1 Text of Proposed
                                  Order)(Companion, James) (Entered: 09/14/2017)
  09/18/2017                   40 ORDER: It is ORDERED that deadlines are adjusted as follows:
                                  Rule 26 Meeting to be held by 10/4/2017, Rule 26 Meeting
                                  Report due by 10/18/2017, Scheduling Conference set for
                                  11/1/2017 10:30 AM, Discovery due by 11/8/2017. Signed by
                                  District Judge Irene M. Keeley on 9/18/17. (cnd) (Entered:
                                  09/18/2017)
  09/19/2017                   41 MOTION for Leave to Appear Pro Hac Vice (David L. Anstaett)
                                  by Mylan Pharmaceuticals Inc.. (Attachments: # 1 Text of
                                  Proposed Order)(Copland, Gordon) (Entered: 09/19/2017)
  09/19/2017                   42 Pro Hac Vice fee for D. L. Anstaett: $ 200.00, receipt number
                                  WVNC001983. (cnd) (Entered: 09/19/2017)
  09/20/2017                   43 ORDER: It is ORDERED that David L. Anstaett's 41
                                  Motion/Application for Leave to Appear Pro Hac Vice is hereby
                                  GRANTED. David L. Anstaett for Mylan Pharmaceuticals Inc.,
                                  added. Signed by District Judge Irene M. Keeley on 9/20/17.
                                  (cnd) (Entered: 09/20/2017)
  09/22/2017                   44 RESPONSE in Opposition re 35 MOTION to Stay This Action
                                  in the Northern District of West Virginia or in the Alternative
                                  Coordinate Discovery with the Related District of Delaware
                                  Actons filed by Mylan Pharmaceuticals Inc.. (O'Brien, William)
                                  (Entered: 09/22/2017)
  09/26/2017                   45 STIPULATION by Biogen International GMBH, Biogen MA,
                                  Inc.. (Companion, James) (Entered: 09/26/2017)
  09/29/2017                   46 STIPULATION re extension of time to reply regarding
                                  Response in Opposition by Biogen International GMBH, Biogen




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                                    MA, Inc.. (Companion, James) (Entered: 09/29/2017)
  10/02/2017                   47 REPLY to Response to Motion re 35 MOTION to Stay This
                                  Action in the Northern District of West Virginia or in the
                                  Alternative Coordinate Discovery with the Related District of
                                  Delaware Actons filed by Biogen International GMBH, Biogen
                                  MA, Inc.. (Attachments: # 1 Exhibit A)(Companion, James)
                                  (Entered: 10/02/2017)
  10/04/2017                   48 ANSWER to 25 Answer to Complaint, Counterclaim by Biogen
                                  International GMBH, Biogen MA, Inc..(Companion, James)
                                  (Entered: 10/04/2017)
  10/10/2017                   49 ORDER GRANTING MOTION FOR LEAVE TO FILE
                                  UNDER SEAL EXHIBIT D TO PLAINTIFFS' MOTION TO
                                  STAY: It is ORDERED that this Court hereby GRANTS
                                  Plaintiffs' 37 Motion for Leave to File Under Seal Exhibit D to
                                  Plaintiffs' Motion to Stay and further DIRECTS the Clerk to re-
                                  file the document under seal. Signed by Senior Judge Irene M.
                                  Keeley on 10/10/17. (cnd) (Entered: 10/10/2017)
  10/10/2017                   50 *SEALED* *SEALED* DOCUMENT, directed filed per 49
                                  Order. (cnd) (Entered: 10/10/2017)
  10/18/2017                   51 REPORT of Rule 26(f) Planning Meeting. (Attachments: # 1
                                  Exhibit Parties' respective scheduling proposal)(Copland,
                                  Gordon) (Entered: 10/18/2017)
  11/01/2017                   52 MOTION for Leave to Appear Pro Hav Vice (Emily J. Greb) by
                                  Mylan Pharmaceuticals Inc.. (Attachments: # 1 Text of Proposed
                                  Order)(O'Brien, William) (Entered: 11/01/2017)
  11/01/2017                   53 PHV Filing fee Greb: $ 200.00, receipt number WVNC002029
                                  (mh) (Entered: 11/01/2017)
  11/01/2017                   54 ORDER: It is ORDERED that Emily Greb's 52
                                  Motion/Application for Leave to Appear Pro Hac Vice is hereby
                                  GRANTED. Attorney Emily J. Greb for Mylan Pharmaceuticals
                                  Inc. added. Signed by Senior Judge Irene M. Keeley on 11/1/17.
                                  (cnd) (Entered: 11/01/2017)
  11/01/2017                   55 MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley.
                                    Scheduling Conference held on 11/1/2017. (Court Reporter
                                    Linda Bachman) (dk) (Entered: 11/01/2017)
  11/06/2017                   56 SCHEDULING ORDER: Discovery due by 11/17/2017. Joinder




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                                    of Parties due by 4/2/2018. Markman Hearing set for 5/11/2018
                                    09:30 AM in Clarksburg District Judge Courtroom, 2nd Floor
                                    before Senior Judge Irene M. Keeley. Amended Pleadings due
                                    by 7/6/2018. Motions due by 8/19/2019. Joint Pretrial Order due
                                    by 1/15/2010. Final Pretrial Conference set for 1/23/2020 10:00
                                    AM in Clarksburg District Judge Courtroom, 2nd Floor before
                                    Senior Judge Irene M. Keeley. Settlement Conference set for
                                    1/23/2020 10:00 AM in Clarksburg District Judge Courtroom,
                                    2nd Floor before Senior Judge Irene M. Keeley. Bench Trial set
                                    for 2/3/2020 09:00 AM in Clarksburg District Judge Courtroom,
                                    2nd Floor before Senior Judge Irene M. Keeley. Signed by
                                    Senior Judge Irene M. Keeley on 11/6/17. (cnd) Modified docket
                                    text on 11/28/2017 (cnd). (Entered: 11/06/2017)
  11/07/2017                   57 ORDER FOLLOWING SCHEDULING CONFERENCE: It is
                                  ORDERED that the 35 Motion to Stay is HELD IN
                                  ABEYANCE; Interim Status Conferences by telephone are set
                                  for 1/22/2018 03:00 PM, 4/26/2018 03:00 PM, 7/23/2018 03:00
                                  PM, and 10/19/2018 03:00 PM in Judge Keeley Chambers
                                  before Senior Judge Irene M. Keeley. Signed by Senior Judge
                                  Irene M. Keeley on 11/6/17. (cnd) (Entered: 11/07/2017)
  11/17/2017                   58 CERTIFICATE OF SERVICE by Biogen International GMBH,
                                  Biogen MA, Inc. re Plaintiffs' Initial Disclosures (Companion,
                                  James) (Entered: 11/17/2017)
  11/17/2017                   59 CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                  for Initial Disclosures Pursuant to Rule 26(a)(1). (O'Brien,
                                  William) (Entered: 11/17/2017)
  11/28/2017                        Set Deadlines per 56 Scheduling Order: Proposed Pretrial Order
                                    due by 1/15/2020, Bench Trial also set for 2/4/2020, 2/5/2020,
                                    2/6/2020, 2/7/2020, 2/10/2020, and 2/11/2020 09:00 AM in
                                    Clarksburg District Judge Courtroom, 2nd Floor before Senior
                                    Judge Irene M. Keeley. (cnd) (Entered: 11/28/2017)
  11/30/2017                   60 Joint MOTION To Extend Deadline by Biogen International
                                  GMBH, Biogen MA, Inc.. (Attachments: # 1 Text of Proposed
                                  Order)(Companion, James) (Entered: 11/30/2017)
  11/30/2017                   61 ORDER: It is ORDERED that the parties' 60 Joint Motion to
                                  Extend Deadline is hereby GRANTED and the deadline for
                                  submitting the proposed Joint Protective Order is hereby
                                  EXTENDED to and including 12/14/2017. Signed by Senior
                                  Judge Irene M. Keeley on 11/30/17. (cnd) (Entered: 11/30/2017)
  12/01/2017                   62 CERTIFICATE OF SERVICE by Biogen International GMBH,
                                  Biogen MA, Inc. re Plaintiffs' Identification of Accused
                                  Products and Asserted Patents Infringed by Mylan
                                  Pharmaceuticals Inc. (Companion, James) (Entered:
                                  12/01/2017)




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  12/14/2017                   63 Joint MOTION for Extension of Time to File proposed Joint
                                  Protective Order by Biogen International GMBH, Biogen MA,
                                  Inc.. (Attachments: # 1 Text of Proposed Order)(Companion,
                                  James) (Entered: 12/14/2017)
  12/14/2017                   64 ORDER: It is ORDERED that the parties' 63 Joint Motion for
                                  Extension of Time to File Joint Protective Order is hereby
                                  GRANTED and the deadline is extended to and including
                                  12/21/2017. Signed by Senior Judge Irene M. Keeley on
                                  12/14/17. (cnd) (Entered: 12/14/2017)
  12/21/2017                   65 Joint MOTION for Extension of Time to File Joint Protective
                                  Order by Mylan Pharmaceuticals Inc.. (Attachments: # 1 Text of
                                  Proposed Order)(O'Brien, William) (Entered: 12/21/2017)
  12/22/2017                   66 ORDER granting 65 Motion for Extension of Time to File.
                                  ORDERED that the deadline for submitting the proposed Joint
                                  Protective Order is hereby extended to and including January 5,
                                  2018. Signed by Senior Judge Irene M. Keeley on 12/22/17.
                                  (njz) (Entered: 12/22/2017)
  12/22/2017                        (Court only) ***Motions terminated: 38 Motion, filed as a
                                    Response. (cnd) (Entered: 12/22/2017)
  01/05/2018                   67 Joint MOTION for Extension of Time to File proposed Joint
                                  Protective Order by Biogen International GMBH, Biogen MA,
                                  Inc.. (Attachments: # 1 Text of Proposed Order)(Companion,
                                  James) (Entered: 01/05/2018)
  01/05/2018                   68 ORDER extending deadline for submitting a proposed Joint
                                  Protective Order to noon on 1/10/18. Signed by Senior Judge
                                  Irene M. Keeley on 1/5/18. (mh) (Entered: 01/05/2018)
  01/10/2018                   69 Proposed Stipulated Protective Order by Biogen International
                                  GMBH, Biogen MA, Inc.. (Companion, James) (Entered:
                                  01/10/2018)
  01/16/2018                   70 STIPULATED PROTECTIVE ORDER. Signed by Senior
                                  Judge Irene M. Keeley on 1/16/18. (Attachments: # 1 Exhibit A
                                  - Declaration, # 2 Exhibit B - Notice)(mh) (Entered: 01/16/2018)
  01/22/2018                   71 MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Status
                                    Conference held on 1/22/2018. (Court Reporter Linda Bachman)
                                    (dk) (Entered: 01/22/2018)
  01/23/2018                   72 SUMMARY ORDER FOLLOWING STATUS




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                                    CONFERENCE: It is ORDERED that Plaintiffs' 35 Motion to
                                    Stay the Case is DENIED and the Motion to Coordinate
                                    Discovery is GRANTED IN PART and DENIED IN PART.
                                    Signed by Senior Judge Irene M. Keeley on 1/23/18. (cnd)
                                    (Entered: 01/23/2018)
  02/12/2018                   73 Certificate of Service re Biogen's Preliminary Claim
                                  Constructions Other Document filed by Biogen International
                                  GMBH, Biogen MA, Inc.. (Companion, James) (Entered:
                                  02/12/2018)
  02/12/2018                   74 CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                  as to Mylan's Initial Claim Constructions. (Copland, Gordon)
                                  (Entered: 02/12/2018)
  02/23/2018                   75 TRANSCRIPT of Proceedings held on November 1, 2017,
                                  before Senior Judge Irene M. Keeley. Court
                                  Reporter/Transcriber Linda Bachman, Telephone number (304)
                                  282-0395; Linda_Bachman@wvnd.uscourts.gov. Parties have
                                  five business days to file a Notice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript will
                                  become available via PACER to the public without redaction
                                  after 90 calendar days.. Redaction Request due 3/16/2018.
                                  Redacted Transcript Deadline set for 3/26/2018. Release of
                                  Transcript Restriction set for 5/24/2018. (llb) (Entered:
                                  02/23/2018)
  02/23/2018                   76 TRANSCRIPT of Proceedings held on January 22, 2018, before
                                  Senior Judge Irene M. Keeley. Court Reporter/Transcriber Linda
                                  Bachman, Telephone number (304) 282-0395;
                                  Linda_Bachman@wvnd.uscourts.gov. Parties have five business
                                  days to file a Notice of Intent to Request Redaction of this
                                  transcript. If no such Notice is filed, the transcript will become
                                  available via PACER to the public without redaction after 90
                                  calendar days.. Redaction Request due 3/16/2018. Redacted
                                  Transcript Deadline set for 3/26/2018. Release of Transcript
                                  Restriction set for 5/24/2018. (llb) (Entered: 02/23/2018)
  02/23/2018                   77 TRANSCRIPT PURCHASE ORDER by Biogen International
                                  GMBH, Biogen MA, Inc. for proceedings held on November 1,
                                  2017 & January 22, 2018 before Senior Judge Irene M. Keeley.
                                  (llb) (Entered: 02/23/2018)
  02/23/2018                   78 TRANSCRIPT PURCHASE ORDER by Mylan
                                  Pharmaceuticals Inc. for proceedings held on November 1, 2017
                                  and January 22, 2018 before Senior Judge Irene M. Keeley. (llb)
                                  (Entered: 02/23/2018)
  02/26/2018                   79 Joint MOTION for Extension of Time to File by Biogen
                                  International GMBH, Biogen MA, Inc.. (Attachments: # 1 Text
                                  of Proposed Order)(Companion, James) (Entered: 02/26/2018)




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  02/26/2018                   80 MOTION for Leave to Appear pro hac vice of Jeanette M.
                                  Roorda by Biogen International GMBH, Biogen MA, Inc..
                                  (Attachments: # 1 Text of Proposed Order)(Companion, James)
                                  (Entered: 02/26/2018)
  02/26/2018                   81 Pro Hac Vice fee for Jeanette M. Roorda PAID. $ 200.00,
                                  receipt number WVNC002141. (wrr) (Entered: 02/26/2018)
  02/26/2018                   82 ORDER: It is ORDERED that the parties' 79 Joint Motion for
                                  Extension of Time to File is hereby GRANTED. The Joint
                                  Claim Chart is now due by 3/5/2018. Signed by Senior Judge
                                  Irene M. Keeley on 2/26/18. (cnd) (Entered: 02/26/2018)
  02/26/2018                   83 ORDER: It is ORDERED that Jeanette Roorda's 80
                                  Application/Motion for Leave to Appear Pro Hac Vice is hereby
                                  GRANTED. Attorney Jeanette M. Roorda for Biogen
                                  International GMBH, Biogen MA, Inc. added. Signed by Senior
                                  Judge Irene M. Keeley on 2/26/18. (cnd) (Entered: 02/26/2018)
  03/01/2018                   84 CERTIFICATE OF SERVICE by Biogen International GMBH,
                                  Biogen MA, Inc. re Plaintiffs' Initial Infringement Contentions
                                  (Companion, James) (Entered: 03/01/2018)
  03/01/2018                   85 MOTION To Defer Consideration of Mylan's Indefinite
                                  Arguments by Biogen International GMBH, Biogen MA, Inc..
                                  (Companion, James) (Entered: 03/01/2018)
  03/01/2018                   86 MEMORANDUM In Support of Motion to Defer Consideration
                                  of Mylan's Indefinite Arguments by Biogen International
                                  GMBH, Biogen MA, Inc. . (Attachments: # 1 Exhibit A, # 2
                                  Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                                  Exhibit F, # 7 Exhibit G (Face Sheet Only), # 8 Exhibit H)
                                  (Companion, James) (Entered: 03/01/2018)
  03/01/2018                   87 *SEALED* BRIEF by Biogen International GMBH, Biogen
                                  MA, Inc. Filed under seal per Protective Order. (Attachments: #
                                  1 Exhibit G - Offer)(cmd) (Entered: 03/01/2018)
  03/05/2018                   88 Other Document Joint Claim Construction Statement filed by
                                  Mylan Pharmaceuticals Inc.. (Copland, Gordon) (Entered:
                                  03/05/2018)
  03/15/2018                   89 Consent MOTION for Extension of Time to File
                                  Response/Reply as to 85 MOTION To Defer Consideration of
                                  Mylan's Indefinite Arguments by Mylan Pharmaceuticals Inc..
                                  (Copland, Gordon) (Entered: 03/15/2018)
  03/16/2018                   90 ORDER GRANTING DEFENDANTS UNOPPOSED
                                  MOTION TO EXTEND DEADLINE: The Court GRANTS the
                                  motion (Dkt. No. 89 ), and ORDERS the defendants response
                                  brief or a joint notice of resolution filed by Tuesday, March 20,
                                  2018. Signed by Senior Judge Irene M. Keeley on 3/16/17. (jss)




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                                    (Entered: 03/16/2018)
  03/20/2018                   91 Joint Letter - Other Document re 85 MOTION To Defer
                                  Consideration of Mylan's Indefinite Arguments re Agreement
                                  and Withdrawal of Motion filed by Mylan Pharmaceuticals Inc..
                                  (Copland, Gordon) (Entered: 03/20/2018)
  03/26/2018                   92 ORDER DENYING AS MOOT PLAINTIFFS' MOTION TO
                                  DETER: It is ORDERED that Plaintiffs' 85 Motion to Deter
                                  Consideration of Mylan's Indefinite Arguments is hereby
                                  DENIED AS MOOT. Signed by Senior Judge Irene M. Keeley
                                  on 3/26/18. (cnd) (Entered: 03/26/2018)
  03/26/2018                   93 MEMORANDUM Opening Claim Construction Brief
                                  (Redacted) by Biogen International GMBH, Biogen MA, Inc. .
                                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                                  Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                  Exhibit H, # 9 Exhibit I, # 10 Exhibit K, # 11 Exhibit L, # 12
                                  Exhibit M, # 13 Exhibit N, # 14 Exhibit O)(Companion, James)
                                  (Entered: 03/26/2018)
  03/26/2018                   94 *SEALED* *SEALED* BRIEF by Biogen International
                                  GMBH, Biogen MA, Inc. Filed under seal per Protective Order.
                                  (Attachments: # 1 Exhibit J - Letter)(cmd) (Entered:
                                  03/26/2018)
  03/26/2018                   95 MEMORANDUM of law - Opening Claim Construction Brief
                                  by Mylan Pharmaceuticals Inc. . (Attachments: # 1 Affidavit
                                  Declaration of Eric Jeffries, MD, # 2 Affidavit Declaration of
                                  Courtney Prochnow, # 3 Exhibit Prochnow Exhibits 1-6, # 4
                                  Exhibit Prochnow Exhibits 7-12)(Copland, Gordon) (Entered:
                                  03/26/2018)
  04/03/2018                   96 CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                  of Mylan's Initial Invalidity Contentions. (Copland, Gordon)
                                  (Entered: 04/03/2018)
  04/16/2018                   97 MEMORANDUM Responsive Claim Construction Brief by
                                  Biogen International GMBH, Biogen MA, Inc. . (Companion,
                                  James) (Entered: 04/16/2018)
  04/16/2018                   98 MEMORANDUM Responive Claim Construction Memorandum
                                  of Law by Mylan Pharmaceuticals Inc. re 93 MEMORANDUM,
                                  of Biogen. (Attachments: # 1 Affidavit Declaration of Emily
                                  Greb, # 2 Exhibit Exhibits to Declaration)(Copland, Gordon)
                                  (Entered: 04/16/2018)
  04/26/2018                   99 PAPERLESS ORDER: For reasons appearing to the Court, the
                                  status conference scheduled for 4/26/2018, 3:00 PM, is
                                  CANCELED. Signed by Senior Judge Irene M. Keeley on
                                  4/26/2018. (dk) (Entered: 04/26/2018)




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  05/01/2018                  100   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's First Set of Requests to Mylan for
                                    the Production of Documents and Things (Nos. 1-41)
                                    (Companion, James) (Entered: 05/01/2018)
  05/02/2018                  101   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Defendant Mylan Pharmaceuticals Inc.'s First Set of
                                    Requests for Production of Documents and Things (Nos. 1-89).
                                    (O'Brien, William) (Entered: 05/02/2018)
  05/02/2018                  102   STIPULATION Regarding Claim Construction (Joint) by
                                    Mylan Pharmaceuticals Inc.. (O'Brien, William) (Entered:
                                    05/02/2018)
  05/03/2018                  103   ORDER CANCELLING MARKMAN HEARING: It is
                                    ORDERED that the Court CANCELS the claim construction
                                    hearing previously scheduled for 5/11/18 at 9:30 am. Signed by
                                    Senior Judge Irene M. Keeley on 5/3/18. (cnd) (Entered:
                                    05/03/2018)
  05/31/2018                  104   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Objections and Responses to
                                    Mylan's First Set of Requests for the Production of Documents
                                    and Things (Nos. 1-89) (Companion, James) (Entered:
                                    05/31/2018)
  05/31/2018                  105   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    re Mylan's Objections and Responses to Plaintiffs' First Set of
                                    Requests for the Production of Documents and Things (Nos. 1-
                                    41). (O'Brien, William) (Entered: 05/31/2018)
  06/27/2018                  106   MOTION for Leave to Appear Pro Hac Vice of Paul W.
                                    Browning by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Text of Proposed Order)(Companion, James)
                                    (Entered: 06/27/2018)
  06/27/2018                  107   Pro Hac Vice Filing fee as to Paul W. Browning: $ 200.00,
                                    receipt number WVNC002265. (wrr) (Entered: 06/27/2018)
  06/27/2018                  108   ORDER granting 106 Motion for Leave to Appear Pro Hac Vice
                                    as to Paul W. Browning. Signed by Senior Judge Irene M.
                                    Keeley on 6/27/2018. (wrr) (Main Document 108 replaced on
                                    6/28/2018 to attach correct document.) (wrr) NEF regen.
                                    (Entered: 06/27/2018)
  07/23/2018                  109   ORDER CANCELING STATUS CONFERENCE. Signed by
                                    Senior Judge Irene M. Keeley on 7/23/18. (mh) (Entered:
                                    07/23/2018)
  07/24/2018                  110   Joint MOTION to Amend/Correct 56 Scheduling Order,,, by
                                    Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                    1 Text of Proposed Order)(Companion, James) (Entered:




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                                    07/24/2018)
  07/24/2018                  111   ORDER granting 110 Motion to Amend/Correct Scheduling
                                    Order. It is hereby ORDERED that the Scheduling Order (Dk.
                                    No. 56 ) be amended by extending two deadlines as follows: 1)
                                    Substantial Completion of Document Production is extended
                                    from July 30, 2018 to August 31, 2018; and 2) Completion of
                                    Fact Discovery is extended from October 1, 2018 to October 17,
                                    2018. Signed by Senior Judge Irene M. Keeley on 7/24/2018.
                                    (wrr) (Entered: 07/24/2018)
  08/28/2018                  112   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re various Bates stamped documents served via
                                    emails on 8/27/18 (Companion, James) (Entered: 08/28/2018)
  08/28/2018                  113   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Notice of Deposition of Rajendra Kumar Joshi. (Copland,
                                    Gordon) (Entered: 08/28/2018)
  08/28/2018                  114   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    Notice of Deposition of Gilmore ONeill. (Copland, Gordon)
                                    (Entered: 08/28/2018)
  08/28/2018                  115   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    Notice of Deposition of Hans-Peter Strebel. (Copland, Gordon)
                                    (Entered: 08/28/2018)
  08/28/2018                  116   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    Notice of Deposition of Matvey E. Lukashev. (Copland, Gordon)
                                    (Entered: 08/28/2018)
  08/30/2018                  117   Joint MOTION to Amend/Correct 56 Scheduling Order,,, by
                                    Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                    1 Text of Proposed Order)(Companion, James) (Entered:
                                    08/30/2018)
  08/30/2018                  118   ORDER granting 117 JOINT MOTION TO AMEND
                                    SCHEDULING ORDER. It is hereby ORDERED that the
                                    Scheduling Order (Dk. No. 56 ) filed on November 6, 2017,and
                                    amended by the Court's July 24, 2018 Order (Dk. No. 111 ), be
                                    amended by extending the deadline for the Substantial
                                    Completion of Document Production from August 31, 2018, to
                                    September 14, 2018, and the Completion of Fact Discovery from
                                    October 17, 2018, to October 31, 2018. Signed by Senior Judge
                                    Irene M. Keeley on 8/30/2018. (wrr) (Entered: 08/30/2018)
  09/10/2018                  119   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Mylan's AMended Invalidity contentions. (Copland, Gordon)
                                    (Entered: 09/10/2018)
  09/10/2018                  120   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Mylan's First Set of Interrogatories. (Copland, Gordon)




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                                    (Entered: 09/10/2018)
  09/10/2018                  121   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Mylan's Second Set of Doc. Requests (No. 90). (Copland,
                                    Gordon) (Entered: 09/10/2018)
  09/10/2018                  122   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Mylan's First Requests for Admission. (Copland, Gordon)
                                    (Entered: 09/10/2018)
  09/17/2018                  123   MOTION to Withdraw as Attorney of Travis L. Zeik by Biogen
                                    International GMBH, Biogen MA, Inc.. (Attachments: # 1 Text
                                    of Proposed Order)(Companion, James) (Entered: 09/17/2018)
  09/17/2018                  124   ORDER: The Court grants 123 Motion for Leave to Withdraw
                                    as Counsel and ORDERS Travis L. Zeik is hereby withdrawn as
                                    counsel for Plaintiffs in this matter. Signed by Senior Judge
                                    Irene M. Keeley on 9/17/2018. (wrr) (Entered: 09/17/2018)
  09/17/2018                  125   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re various Bates stamped documents served via
                                    email 9/13/18 and 9/14/18 (Companion, James) (Entered:
                                    09/17/2018)
  09/17/2018                  126   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    re Production of Documents on September 13, 2018. (O'Brien,
                                    William) (Entered: 09/17/2018)
  09/21/2018                  127   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. via various Bates stamped documents served
                                    via email on September 19, 2018 (Companion, James) (Entered:
                                    09/21/2018)
  10/01/2018                  128   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re various Bates stamped documents served via
                                    email on September 28, 2018 (Companion, James) (Entered:
                                    10/01/2018)
  10/03/2018                  129   ORDER DIRECTING PARTIES TO FILE JOINT STATUS
                                    REPORT: The Court DIRECTS that, by Friday, October 12,
                                    2018, the parties shall file a joint report regarding the status of
                                    this case, including the issues for discussion at the interim status
                                    conference scheduled for October 19, 2018. Signed by Senior
                                    Judge Irene M. Keeley on 10/3/2018. (wrr) (Entered:
                                    10/03/2018)
  10/04/2018                  130   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Notice of Deposition of Plaintiffs Pursuant to Fed. R. Civ. P.
                                    30(b)(6) served on September 24, 2018. (O'Brien, William)
                                    (Entered: 10/04/2018)
  10/04/2018                  131   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.




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                                    for Notice of Deposition of Katherine T. Dawson served on
                                    September 24, 2018. (O'Brien, William) (Entered: 10/04/2018)
  10/04/2018                  132   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Notice of Deposition of Tammy Sarnelli served on September
                                    24, 2018. (O'Brien, William) (Entered: 10/04/2018)
  10/04/2018                  133   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Notice of Deposition of Cara Lansden served on September
                                    24, 2018. (O'Brien, William) (Entered: 10/04/2018)
  10/04/2018                  134   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Notice of Deposition of Carmen Bozic served on September
                                    24, 2018. (O'Brien, William) (Entered: 10/04/2018)
  10/04/2018                  135   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Third Set of Requests for the Production of Documents and
                                    Things (Nos. 91-95) served on October 1, 2018. (O'Brien,
                                    William) (Entered: 10/04/2018)
  10/04/2018                  136   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for Second Set of Interrogatories to Plaintiffs (Nos. 10-13)
                                    served on October 1, 2018. (O'Brien, William) (Entered:
                                    10/04/2018)
  10/09/2018                  137   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Objections and Responses to
                                    Mylan's First Set of Interrogatories (Nos. 1-9) (Companion,
                                    James) (Entered: 10/09/2018)
  10/09/2018                  138   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Objections and Responses to
                                    Mylan's First Set of Requests for Admissions (Nos. 1-14)
                                    (Companion, James) (Entered: 10/09/2018)
  10/09/2018                  139   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Objections and Responses to
                                    Mylan's Second Set of Requests for Production of Documents
                                    and Things (No. 90) (Companion, James) (Entered: 10/09/2018)
  10/11/2018                  140   Other Document Notice of intent to serve subpoena on Cara
                                    Lansden filed by Mylan Pharmaceuticals Inc.. (Copland,
                                    Gordon) (Entered: 10/11/2018)
  10/11/2018                  141   Other Document Notice of intent to serve subpoena on Tammy
                                    Sarnelli filed by Mylan Pharmaceuticals Inc.. (Copland,
                                    Gordon) (Entered: 10/11/2018)
  10/12/2018                  142   STATUS REPORT on behalf of both parties, filed by Mylan
                                    Pharmaceuticals Inc.. (Attachments: # 1 Exhibit Exh A, # 2
                                    Exhibit Exh B, # 3 Exhibit Exh C, # 4 Exhibit Exh D)(Copland,
                                    Gordon) (Entered: 10/12/2018)




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  10/15/2018                  143   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Deposition of Defendant Pursuant to Fed.
                                    R. Civ. P. 30(b)(6) (Companion, James) (Entered: 10/15/2018)
  10/19/2018                  144   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Status
                                    Conference held on 10/19/2018. (Court Reporter Stacy Harlow)
                                    (dk) (Entered: 10/19/2018)
  10/22/2018                  145   TRANSCRIPT PURCHASE ORDER by Biogen International
                                    GMBH for proceedings held on 10/19/2018 before Judge Irene
                                    M. Keeley, Senior Judge. (sh) (Entered: 10/22/2018)
  10/22/2018                  146   TRANSCRIPT of Proceedings held on 10-19-2018, before
                                    Judge Irene M. Keeley, Senior Judge. Court Reporter Stacy
                                    harlow, Telephone number 304-623-7154. Parties have five
                                    business days to file a Notice of Intent to Request Redaction of
                                    this transcript. If no such Notice is filed, the transcript will
                                    become available via PACER to the public without redaction
                                    after 90 calendar days. Redaction Request due 11/13/2018.
                                    Redacted Transcript Deadline set for 11/23/2018. Release of
                                    Transcript Restriction set for 1/22/2019. (sh) (Entered:
                                    10/22/2018)
  10/22/2018                  147   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re various Bates stamped documents served via
                                    email 10/19/18 (Companion, James) (Entered: 10/22/2018)
  10/23/2018                  148   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 10/19/2018 before
                                    Judge Irene M. Keeley, Senior Judge. (sh) (Entered: 10/23/2018)
  10/24/2018                  149   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Objections and Responses to
                                    Mylan's Notice of Rule 30(b)(6) Deposition of Biogen
                                    (Companion, James) (Entered: 10/24/2018)
  10/29/2018                  150   Joint MOTION to Amend/Correct 56 Scheduling Order,,, by
                                    Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                    1 Text of Proposed Order)(Companion, James) (Entered:
                                    10/29/2018)
  10/29/2018                  151   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Notice of Deposition of Katie Reed
                                    (Companion, James) (Entered: 10/29/2018)




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  10/30/2018                  152   ORDER granting 150 Joint Motion to Amend Scheduling Order.
                                    It is hereby ORDERED that the Scheduling Order (Dk. No. 56 )
                                    filed on November 6, 2017, and amended by the Court's July 24,
                                    2018 Order (Dk. No. 111 ) and August 30, 2018 Order (Dk.
                                    118 ), be amended by extending the deadlines as addressed in
                                    Order. Signed by Senior Judge Irene M. Keeley on 10/30/2018.
                                    (wrr) (Entered: 10/30/2018)
  10/30/2018                  153   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for documents served on October 26, 2018. (O'Brien, William)
                                    (Entered: 10/30/2018)
  10/31/2018                  154   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Bates Stamped Documents
                                    Produced October 31, 2018 (Companion, James) (Entered:
                                    10/31/2018)
  10/31/2018                  155   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    of First Amended Initial Disclosures Pursuant to Fed. R. Civ. P.
                                    26(a)(1). (O'Brien, William) (Entered: 10/31/2018)
  11/01/2018                  156   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Objections and Responses to
                                    Mylan's Third Set of Requests for the Production of Documents
                                    and Things (Nos. 91-95) (Companion, James) (Entered:
                                    11/01/2018)
  11/01/2018                  157   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Objections and Responses to
                                    Mylan's Second Set of Interrogatories (Nos. 10-13) (Companion,
                                    James) (Entered: 11/01/2018)
  11/05/2018                  158   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Bates Stamped Documents
                                    Produced November 2, 2018 (Companion, James) (Entered:
                                    11/05/2018)
  11/08/2018                  159   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    for documents served on November 7, 2018. (O'Brien, William)
                                    (Entered: 11/08/2018)
  11/09/2018                  160   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re documents served via email on November 8,
                                    2018 (Companion, James) (Entered: 11/09/2018)
  11/13/2018                  161   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    of Amended Notice of Deposition of Cara Lansden. (O'Brien,
                                    William) (Entered: 11/13/2018)
  11/13/2018                  162   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re documents served via email on November 9,
                                    2018 (Companion, James) (Entered: 11/13/2018)




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  11/26/2018                  163   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Bates Stamped Documents
                                    Produced November 23, 2018 (Companion, James) (Entered:
                                    11/26/2018)
  11/27/2018                  164   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. RE: Document served November 27, 2018
                                    (Companion, James) (Entered: 11/27/2018)
  11/30/2018                  165   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on November 29, 2018 (Companion, James) (Entered:
                                    11/30/2018)
  12/04/2018                  166   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    of Amended Notice of Deposition of Tammy Sarnelli. (O'Brien,
                                    William) (Entered: 12/04/2018)
  12/05/2018                  167   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on December 4, 2018 (Companion, James) (Entered:
                                    12/05/2018)
  12/07/2018                  168   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    of Amended Notice of Deposition of Carmen Bozic. (O'Brien,
                                    William) (Entered: 12/07/2018)
  12/07/2018                  169   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    of Notice of Deposition of Victoria Brown. (O'Brien, William)
                                    (Entered: 12/07/2018)
  12/10/2018                  170   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    re Second Notice of Deposition of Plaintiffs Pursuant to Fed. R.
                                    Civ. P. 30(b)(6). (O'Brien, William) (Entered: 12/10/2018)
  12/10/2018                  171   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via two
                                    separate emails on 12-7-18 at 2:00 p.m. and 7:09 p.m.
                                    (Companion, James) (Entered: 12/10/2018)
  12/10/2018                  172   MOTION for Leave to Appear Pro Hac Vice Michael Chajon by
                                    Mylan Pharmaceuticals Inc.. (Attachments: # 1 Attachment
                                    Attachment A - list of cases, # 2 Text of Proposed Order)
                                    (Copland, Gordon) (Entered: 12/10/2018)
  12/11/2018                  173   Pro Hac Vice Filing fee as to Michael A. Chajon paid: $ 200.00,
                                    receipt number WVNC002437. (wrr) (Entered: 12/11/2018)
  12/12/2018                  174   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Plaintiffs' Objections and Responses to
                                    Mylan's Second Notice of Rule 30(b)(6) Deposition of Biogen
                                    (Companion, James) (Entered: 12/12/2018)




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  12/12/2018                  175   ORDER granting 172 Motion for Leave to Appear Pro Hac Vice
                                    as to Michael A. Chajon. Signed by Senior Judge Irene M.
                                    Keeley on 12/12/2018. (wrr) (Entered: 12/12/2018)
  12/12/2018                  176   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    re Amended Notice of Deposition of Katherine Dawson.
                                    (O'Brien, William) (Entered: 12/12/2018)
  12/13/2018                  177   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re documents served via email on December
                                    13, 2018 (Companion, James) (Entered: 12/13/2018)
  12/28/2018                  178   NOTICE of Change of Address by William J O'Brien (O'Brien,
                                    William) (Entered: 12/28/2018)
  12/31/2018                  179   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on December 28, 2018 (Companion, James) (Entered:
                                    12/31/2018)
  01/10/2019                  180   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    (Notice of Deposition of Tracy Dawson). (O'Brien, William)
                                    (Entered: 01/10/2019)
  01/10/2019                  181   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    (Amended Notice of Deposition of Matvey E. Lukashev).
                                    (O'Brien, William) (Entered: 01/10/2019)
  01/10/2019                  182   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    (Amended Notice of Deposition of Hans-Peter Strebel).
                                    (O'Brien, William) (Entered: 01/10/2019)
  01/14/2019                  183   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on January 11, 2019 (Companion, James) (Entered: 01/14/2019)
  01/18/2019                  184   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on January 18, 2019 (Companion, James) (Entered: 01/18/2019)
  01/21/2019                  185   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on January 18, 2019 (Companion, James) (Entered: 01/21/2019)
  01/21/2019                  186   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on January 19, 2019 (Companion, James) (Entered: 01/21/2019)
  01/22/2019                  187   NOTICE of Appearance by Adam S Ennis on behalf of Mylan
                                    Pharmaceuticals Inc. (Ennis, Adam) (Entered: 01/22/2019)
  01/22/2019                        (Court only) Staff notes: Per review of Clerk's records, Attorney
                                    Adam S. Ennis is admitted to the NDWV. (wrr) (Entered:




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                                    01/22/2019)
  01/22/2019                  188   MOTION for Leave to Appear pro hac vice of Lauren J. Dowty
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Text of Proposed Order)(Companion, James)
                                    (Entered: 01/22/2019)
  01/23/2019                  189   Pro Hac Vice Filing fee for Lauren Dowty PAID: $ 200.00,
                                    receipt number WVNC002473. (wrr) (Entered: 01/23/2019)
  01/23/2019                  190   ORDER granting 188 Motion for Leave to Appear Pro Hac Vice
                                    as to Attorney Lauren J. Dowty. Signed by Senior Judge Irene
                                    M. Keeley on 1/23/2019. (wrr) (Entered: 01/23/2019)
  01/28/2019                  191   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on January 25, 2019 (Companion, James) (Entered: 01/28/2019)
  01/31/2019                  192   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on on January 30, 2019 (Companion, James) (Entered:
                                    01/31/2019)
  01/31/2019                  193   Joint MOTION Extension of deadline as to two depositions by
                                    Mylan Pharmaceuticals Inc.. (Attachments: # 1 Text of Proposed
                                    Order)(Copland, Gordon) (Entered: 01/31/2019)
  01/31/2019                  194   ORDER granting 193 Joint MOTION Extension of deadline as
                                    to two depositions by Mylan Pharmaceuticals Inc. Deadline is
                                    extended through and until 2/8/2019. No other scheduling
                                    deadlines are changed or affected by this Order. Signed by
                                    Senior Judge Irene M. Keeley on 1/31/2019. (jmm) (Entered:
                                    01/31/2019)
  02/04/2019                  195   STIPULATION and proposed order of PARTIAL dismissal by
                                    Mylan Pharmaceuticals Inc.. (Copland, Gordon) (Entered:
                                    02/04/2019)
  02/05/2019                  196   STIPULATION AND ORDER OF PARTIAL DISMISSAL
                                    WITH PREJUDICE: The parties hereby stipulate to dismissal,
                                    with prejudice, of the claims, counterclaims and affirmative
                                    defenses related to U.S. Patent Nos. 6,509,376; 7,320,999;
                                    7,803,840; and 8,759,393. The parties maintain their respective
                                    claims, counterclaims and affirmative defenses as to U.S. Patent
                                    Nos. 7,619,001 and 8,399,514. Signed by Senior Judge Irene M.
                                    Keeley on 2/5/2019. (wrr) (Entered: 02/05/2019)
  02/05/2019                  197   MOTION Leave for local counsel to appear telephonically at
                                    depositions by Mylan Pharmaceuticals Inc.. (Attachments: # 1
                                    Text of Proposed Order)(Copland, Gordon) (Entered:
                                    02/05/2019)




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  02/06/2019                  198   ORDER: The Court GRANTS the motion (Dkt. No. 197 ) and
                                    ORDERS that local counsel be permitted to attend depositions
                                    by telephone. Signed by Senior Judge Irene M. Keeley on
                                    2/6/2019. (wrr) (Entered: 02/06/2019)
  02/07/2019                  199   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via two
                                    separate emails on 2/6/19 (Companion, James) (Entered:
                                    02/07/2019)
  02/07/2019                  200   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    (Notice of Deposition of Victoria Brown). (O'Brien, William)
                                    (Entered: 02/07/2019)
  02/08/2019                  201   Joint MOTION to Amend/Correct Scheduling Order by Mylan
                                    Pharmaceuticals Inc.. (Attachments: # 1 Text of Proposed
                                    Order)(O'Brien, William) (Entered: 02/08/2019)
  02/08/2019                  202   ORDER granting 201 JOINT MOTION TO AMEND
                                    SCHEDULING ORDER. It is hereby ORDERED that the
                                    deadlines set forth herein, previously set in a prior 152
                                    Scheduling Order, are amended. Signed by Senior Judge Irene
                                    M. Keeley on 2/8/2019. (wrr) (Entered: 02/08/2019)
  02/25/2019                  203   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on February 22, 2019 (Companion, James) (Entered:
                                    02/25/2019)
  03/04/2019                  204   STIPULATION (Joint) and Proposed Order Resolving
                                    Discovery Dispute by Mylan Pharmaceuticals Inc.. (O'Brien,
                                    William) (Entered: 03/04/2019)
  03/04/2019                  205   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on March 1, 2019 (Companion, James) (Entered: 03/04/2019)
  03/04/2019                  206   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on March 4, 2019 (Companion, James) (Entered: 03/04/2019)
  03/04/2019                  207   ORDER STIPULATION AND ORDER: Biogen will not rely on
                                    or submit at trial, in support of any motion or any expert report,
                                    any testimony by Dr. Rajendra Kumar Joshi. Mylan will
                                    withdraw its notice of deposition of Dr. Joshi. Signed by Senior
                                    Judge Irene M. Keeley on 3/4/2019. (wrr) (Entered: 03/04/2019)
  03/05/2019                  208   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on March 5, 2019 (Companion, James) (Entered: 03/05/2019)
  03/05/2019                  209   Joint MOTION for Discovery extension as to expert deadlines




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                                    by Mylan Pharmaceuticals Inc.. (Attachments: # 1 Text of
                                    Proposed Order)(Copland, Gordon) (Entered: 03/05/2019)
  03/06/2019                  210   ORDER granting 209 Joint Motion for Discovery Extension as
                                    to expert deadlines. Signed by Senior Judge Irene M. Keeley on
                                    3/6/19. (mh) (Entered: 03/06/2019)
  03/07/2019                  211   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on March 6, 2019 (Companion, James) (Entered: 03/07/2019)
  03/07/2019                  212   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Biogen's Supplemental Objections and
                                    Responses to Mylan's Interrogatory Nos. 4-5 and 10-13
                                    (Companion, James) (Entered: 03/07/2019)
  03/07/2019                  213   Proposed Corrected Order (Agreed) by Mylan Pharmaceuticals
                                    Inc.. (Copland, Gordon) (Entered: 03/07/2019)
  03/08/2019                  214   AGREED CORRECTED ORDER: Upon joint motion of the
                                    parties, it is ORDERED that the deadline for rebuttal reports, set
                                    in the Order of March 6, 2019 (Dkt. No. 210 ) is changed from
                                    April 3, 2019 to on or before April 10, 2019. No other
                                    scheduling deadlines are changed by this Order. Signed by
                                    Senior Judge Irene M. Keeley on 3/8/2019. (wrr) (Entered:
                                    03/08/2019)
  03/11/2019                  215   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on March 8, 2019 (Companion, James) (Entered: 03/11/2019)
  03/14/2019                  216   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re production of expert report of Dr. Daniel R.
                                    Wynn (Companion, James) (Entered: 03/14/2019)
  03/14/2019                  217   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re production of expert report of Dr. Robert O.
                                    Williams (Companion, James) (Entered: 03/14/2019)
  03/14/2019                  218   MOTION for Leave to Appear Pro Hac Vice of Aaron G. Clay
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Text of Proposed Order)(Companion, James)
                                    (Entered: 03/14/2019)
  03/14/2019                  219   MOTION for Leave to Appear Pro Hac Vice of Laura P.
                                    Masurovsky by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Text of Proposed Order)(Companion, James)
                                    (Entered: 03/14/2019)
  03/14/2019                  220   MOTION for Leave to Appear Pro Hac Vice of John E. Nappi
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Text of Proposed Order)(Companion, James)




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                                    (Entered: 03/14/2019)
  03/14/2019                  221   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    as to expert reports of Benet, Crowley and Greenberg.
                                    (Copland, Gordon) (Entered: 03/14/2019)
  03/14/2019                  222   Pro Hac Vice Filing fee as to John E. Nappi, Laura P.
                                    Mosurosky, and Aaron G. Clay: $ 600.00 PAID, receipt number
                                    WVNC002535. (wrr) (Entered: 03/14/2019)
  03/15/2019                  223   ORDER granting 218 Motion for Leave to Appear Pro Hac Vice
                                    as to Aaron G. Clay. Signed by Senior Judge Irene M. Keeley on
                                    3/15/2019. (wrr) (Entered: 03/15/2019)
  03/15/2019                  224   ORDER granting 219 Motion for Leave to Appear Pro Hac Vice
                                    as to Laura P. Masurovsky. Signed by Senior Judge Irene M.
                                    Keeley on 3/15/2019. (wrr) (Entered: 03/15/2019)
  03/15/2019                  225   ORDER granting 220 Motion for Leave to Appear Pro Hac Vice
                                    as to John E. Nappi. Signed by Senior Judge Irene M. Keeley on
                                    3/15/2019. (wrr) (Entered: 03/15/2019)
  03/20/2019                  226   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    re Production of Documents on March 15, 2019. (O'Brien,
                                    William) (Entered: 03/20/2019)
  03/29/2019                  227   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on March 28, 2019 (Companion, James) (Entered: 03/29/2019)
  04/06/2019                  228   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    (Notice of Deposition of William Sibold). (O'Brien, William)
                                    (Entered: 04/06/2019)
  04/08/2019                  229   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on April 5, 2019 (Companion, James) (Entered: 04/08/2019)
  04/09/2019                  230   MOTION to Amend/Correct Scheduling Order (Unopposed) by
                                    Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                    1 Text of Proposed Order)(Companion, James) (Entered:
                                    04/09/2019)
  04/09/2019                  231   ORDER granting 230 Motion to Amend Scheduling Order. 56 ,
                                    111 , 118 , 152 , 202 , 210 , 213 and 214 Scheduling Orders are
                                    amended as set forth in this Order. Signed by Senior Judge Irene
                                    M. Keeley on 4/9/2019. (wrr) (Entered: 04/09/2019)
  04/18/2019                  232   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re rebuttal expert reports served by Plaintiffs
                                    on April 17, 2019 (Companion, James) (Entered: 04/18/2019)
  04/25/2019                  233   CERTIFICATE OF SERVICE by Biogen International GMBH,




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                                    Biogen MA, Inc. re Biogen's Supplemental Objections and
                                    Responses to Mylan's Interrogatory Nos. 1-3 and 6-8
                                    (Companion, James) (Entered: 04/25/2019)
  05/10/2019                  234   MOTION to Amend/Correct 231 Order on Motion to
                                    Amend/Correct, Set Deadlines/Hearings, by Mylan
                                    Pharmaceuticals Inc.. (Attachments: # 1 Text of Proposed
                                    Order)(O'Brien, William) (Entered: 05/10/2019)
  05/13/2019                  235   ORDER granting 234 Motion to Amend Scheduling Order. 56 ,
                                    111 , 118 , 152 , 202 , 210 , 213 , 214 , and 231 Scheduling
                                    Orders are amended as set forth in this Order. Signed by Senior
                                    Judge Irene M. Keeley on 5/13/2019. (wrr) (Entered:
                                    05/13/2019)
  05/14/2019                  236   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on May 14, 2019 (Companion, James) (Entered: 05/14/2019)
  05/20/2019                  237   MOTION for Leave to Appear Pro Hac Vice of Eric J. Fues by
                                    Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                    1 Text of Proposed Order)(Companion, James) (Entered:
                                    05/20/2019)
  05/20/2019                  238   PHV Filing fee: $ 200.00, receipt number WVNC002606 for
                                    Attorney Eric Fues. (jmm) (Entered: 05/20/2019)
  05/21/2019                  239   ORDER granting 237 Motion for Leave to Appear Pro Hac Vice
                                    for Eric J. Fues. Signed by Senior Judge Irene M. Keeley on
                                    5/21/2019 (copy counsel of record)(jmm) (Entered: 05/21/2019)
  05/31/2019                  240   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on May 30, 2019 (Companion, James) (Entered: 05/31/2019)
  06/24/2019                  241   NOTICE by Biogen International GMBH, Biogen MA, Inc. of
                                    Appearance by Sandra K. Law (Companion, James) (Entered:
                                    06/24/2019)
  06/24/2019                  242   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Notice of Deposition of Benjamin M.
                                    Greenberg, M.D. (Companion, James) (Entered: 06/24/2019)
  06/24/2019                        (Court only) Attorney Sandra K. Law for Biogen International
                                    GMBH and Biogen MA, Inc. added per 241 Notice of
                                    Appearance. Per review of Clerk's records, Attorney Sandra K.
                                    Law is admitted to the NDWV. (wrr) (Entered: 06/25/2019)
  07/02/2019                  243   *SEALED* *** SEALED *** by Mylan Pharmaceuticals Inc..
                                    (Attachments: # 1 Attachment Memorandum In Support, # 2
                                    Affidavit Declaration of Emily J. Greb, # 3 Exhibit 1, # 4
                                    Exhibit 2, # 5 Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 4A, # 8




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                                    Exhibit 5, # 9 Exhibit 6, # 10 Exhibit 6A, # 11 Exhibit 7, # 12
                                    Exhibit 7A, # 13 Exhibit 8, # 14 Exhibit 8A, # 15 Exhibit 9, # 16
                                    Exhibit 10, # 17 Exhibit 11, # 18 Exhibit 11A, # 19 Exhibit 12, #
                                    20 Exhibit 13, # 21 Exhibit 14)(O'Brien, William) (Entered:
                                    07/02/2019)
  07/03/2019                  244   ORDER OF REFERRAL. The Court REFERS the pending
                                    motion for relief from protective order. Signed by Senior Judge
                                    Irene M. Keeley on 7/3/2019. (wrr) (Entered: 07/03/2019)
  07/03/2019                  245   Joint MOTION for Extension of Time to Complete Discovery
                                    (Expert Depositions) by Biogen International GMBH, Biogen
                                    MA, Inc.. (Attachments: # 1 Text of Proposed Order Order)
                                    (Companion, James) (Entered: 07/03/2019)
  07/03/2019                  246   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. Notice of Deposition of Michael M. Crowley,
                                    Ph.D. (Companion, James) (Entered: 07/03/2019)
  07/03/2019                  247   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. Notice of Deposition of John R. Corboy, M.D..
                                    (Companion, James) (Entered: 07/03/2019)
  07/03/2019                  248   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. Notice of Deposition of Michael M. Crowley,
                                    Ph.D.. (Companion, James) (Entered: 07/03/2019)
  07/08/2019                  249   ORDER granting 245 Motion for Extension of Time to
                                    Complete Discovery (Expert Depositions). No other scheduling
                                    deadlines are changed or affected by this Order. Signed by
                                    Senior Judge Irene M. Keeley on 7/8/2019. (wrr) (Entered:
                                    07/08/2019)
  07/08/2019                  250   SEALED ORDER SETTING DEADLINES AND ORAL
                                    ARGUMENT/EVIDENTIARY HEARING. Signed by
                                    Magistrate Judge James P. Mazzone on 7/8/2019. (wrr)
                                    Modified on 7/15/2019 Per MJ Mazzone Order is to be sealed.
                                    (cmd) (Entered: 07/08/2019)
  07/15/2019                  251   *SEALED* MOTION to Seal Plaintiffs' Opposition to
                                    Defendant's Motion for Relief from Stipulated Protective Order
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Attachment Plaintiffs' Memorandum in
                                    Opposition to Defendant's Motion for Relief from Stipulated
                                    Protective Order, # 2 Attachment Declaration of Andrew
                                    Renison, # 3 Exhibit 1 to Declaration of Andrew Renison, # 4
                                    Exhibit 2 to Declaration of Andrew Renison, # 5 Text of
                                    Proposed Order)(Companion, James) (Entered: 07/15/2019)
  07/16/2019                  252   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Notice of Deposition of Neal M. Davies




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                                    (Companion, James) (Entered: 07/16/2019)
  07/16/2019                  253   ORDER GRANTING 251 MOTION FOR LEAVE TO FILE
                                    UNDER SEAL PLAINTIFFS' OPPOSITION TO
                                    DEFENDANT'S MOTION FOR RELIEF FROM
                                    STIPULATED PROTECTIVE ORDER. Signed by Magistrate
                                    Judge James P. Mazzone on 7/16/2019. (wrr) Modified on
                                    7/23/2019 to correct docket text (wrr). (Entered: 07/16/2019)
  07/16/2019                  254   *SEALED* *SEALED* Brief filed by Plaintiffs, sealed per 253
                                    Order. (Attachments: # 1 Attachment Declaration, # 2 Exhibit 1
                                    to Declaration, # 3 Exhibit 2 to Declaration)(wrr) Modified on
                                    7/23/2019 to link to motion (wrr). (Entered: 07/16/2019)
  07/17/2019                  255   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Notice of Deposition of Ivan T. Hofmann
                                    (Companion, James) (Entered: 07/17/2019)
  07/19/2019                  256   NOTICE of Change of Address by William J O'Brien (O'Brien,
                                    William) (Entered: 07/19/2019)
  07/19/2019                  257   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    (Dr. Martin Duddy). (O'Brien, William) (Entered: 07/19/2019)
  07/22/2019                  258   NOTICE by Biogen International GMBH, Biogen MA, Inc. of
                                    Appearance by Frank X. Duff on behalf of Plaintiffs
                                    (Companion, James) (Entered: 07/22/2019)
  07/22/2019                        (Court only) Attorney Frank X. Duff for Biogen International
                                    GMBH and for Biogen MA, Inc. added per 258 Notice of
                                    Appearance. Pursuant to review of Clerk's records, Attorney
                                    Frank X. Duff is admitted to the NDWV. (wrr) (Entered:
                                    07/22/2019)
  07/22/2019                  259   *SEALED* MOTION to Seal by Mylan Pharmaceuticals Inc..
                                    (Attachments: # 1 Attachment Reply in Support of Motion for
                                    Relief from Stipulated Protective Order as to Certain
                                    Documents, # 2 Attachment Supplemental Declaration of Emily
                                    J. Greb, # 3 Exhibit 4B, # 4 Exhibit 6B, # 5 Exhibit 7B, # 6
                                    Exhibit 8B, # 7 Exhibit 9B, # 8 Exhibit 11B)(O'Brien, William)
                                    (Entered: 07/22/2019)
  07/23/2019                  260   MOTION TO RESCHEDULE HEARING re 250 Order, Set
                                    Motion, Evidentiary, R&R and Social Security Oral Argument
                                    Deadlines/Hearings by Mylan Pharmaceuticals Inc.. (O'Brien,
                                    William) (Entered: 07/23/2019)
  07/24/2019                  261   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re bates-stamped documents served via email
                                    on July 23, 2019 (Companion, James) (Entered: 07/24/2019)
  07/25/2019                  262   ORDER GRANTING DEFENDANT'S MOTION 259 FOR




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                                    LEAVE TO FILE UNDER SEAL DEFENDANT'S REPLY IN
                                    SUPPORT OF MOTION FOR RELIEF FROM STIPULATED
                                    PROTECTIVE ORDER AS TO CERTAIN DOCUMENTS.
                                    This Court hereby GRANTS Defendant's Motion 259 for Leave
                                    to File Under Seal Defendant's Reply in Support of Motion for
                                    Relief From Stipulated Protective Order as to Certain
                                    Documents and further DIRECTS the Clerk to file the brief and
                                    accompanying attachments under seal. Signed by Magistrate
                                    Judge James P. Mazzone on 7/25/2019. (wrr) (Entered:
                                    07/25/2019)
  07/25/2019                  263   *SEALED* REPLY to Sealed Motion filed by Mylan
                                    Pharmaceuticals Inc. (Attachments: # 1 , # 2 Exhibit 4B, # 3
                                    Exhibit 6B, # 4 Exhibit 7B, # 5 Exhibit 8B, # 6 Exhibit 9B, # 7
                                    Exhibit 11B)(wrr) Modified on 7/29/2019 to correct docket text.
                                    (cmd) (Entered: 07/25/2019)
  07/25/2019                  264   RESPONSE to Motion re 260 MOTION TO RESCHEDULE
                                    HEARING re 250 Order, Set Motion, Evidentiary, R&R and
                                    Social Security Oral Argument Deadlines/Hearings filed by
                                    Biogen International GMBH, Biogen MA, Inc.. (Companion,
                                    James) (Entered: 07/25/2019)
  07/26/2019                  265   ORDER GRANTING DEFENDANT, MYLAN
                                    PHARMACEUTICALS INC.'S MOTION [ 260 ] TO
                                    RESCHEDULE HEARING. Defendant's Motion to Reschedule
                                    Hearing is GRANTED. The hearing currently set for August 1,
                                    2019 is now CANCELLED. Pursuant to LR Gen P 88.02, the
                                    parties are DIRECTED to submit three non-consecutive dates to
                                    which to move the hearing. If the parties are unable to agree
                                    upon said dates, each party must advise the Court of their
                                    suggested dates. Signed by Magistrate Judge James P. Mazzone
                                    on 7/26/2019. (wrr) (Entered: 07/26/2019)
  07/26/2019                        (Court only) ***Deadlines terminated. (mh) (Entered:
                                    07/26/2019)
  08/01/2019                  266   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.
                                    (Notice of Deposition of John C. Jarosz). (O'Brien, William)
                                    (Entered: 08/01/2019)
  08/07/2019                  267   CERTIFICATE OF SERVICE by Biogen International GMBH,
                                    Biogen MA, Inc. re Notice of Deposition of Leslie Z. Benet
                                    (Companion, James) (Entered: 08/07/2019)
  08/07/2019                  268   Joint Report ( Other Document ) filed by Mylan
                                    Pharmaceuticals Inc.. (O'Brien, William) (Entered: 08/07/2019)
  08/08/2019                  269   ORDER ***SEALED*** Signed by Magistrate Judge James P.
                                    Mazzone on 8/8/2019. (copy counsel of record)(jmm) (Entered:
                                    08/08/2019)




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  08/08/2019                        Sealed Hearing set for 8/15/2019 10:00 AM in Wheeling
                                    Magistrate Judge Courtroom, 4th Floor before Magistrate Judge
                                    James P. Mazzone. (jmm) (Entered: 08/08/2019)
  08/14/2019                  270   Joint MOTION for Leave to Appear Telephonically at hearing
                                    set for 10:00 a.m. on August 15, 2019 by Biogen International
                                    GMBH, Biogen MA, Inc.. (Law, Sandra) (Entered: 08/14/2019)
  08/14/2019                  271   ORDER GRANTING JOINT MOTION 270 FOR LEAVE TO
                                    APPEAR TELEPHONICALLY. Signed by Magistrate Judge
                                    James P. Mazzone on 8/14/2019. (wrr) (Entered: 08/14/2019)
  08/15/2019                  272   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Sealed Evidentiary hearing re: 234 Sealed Motion held on
                                    8/15/2019 before Magistrate Judge James P. Mazzone
                                    Evidentiary Hearing. (Court Reporter C. Knecht.) (nmm)
                                    (Entered: 08/15/2019)
  08/15/2019                  273   Joint MOTION Modification of dispositive motion deadlines by
                                    Mylan Pharmaceuticals Inc.. (Attachments: # 1 Text of Proposed
                                    Order)(Copland, Gordon) (Entered: 08/15/2019)
  08/15/2019                  274   ORDER granting 273 JOINT MOTION TO AMEND
                                    SCHEDULING ORDER. it is hereby ORDERED that the
                                    deadlines identified below, set in a prior scheduling Order (Dkt.
                                    No. 56 ) in this case, are amended as follows: Dispositive
                                    Motions are due August 29, 2019; Response To Dispositive
                                    Motions are due October 7, 2019; Reply To Dispositive Motions
                                    are due October 21, 2019. Signed by Senior Judge Irene M.
                                    Keeley on 8/15/2019. (wrr) Modified on 8/15/2019 to correct
                                    docket text (wrr). NEF regenerated. (Entered: 08/15/2019)
  08/26/2019                  275   *SEALED* TRANSCRIPT of Sealed Hearing held on
                                    8/15/2019, before Judge Mazzone. Court Reporter/Transcriber
                                    Cindy Knecht, Telephone number 304.234.3968.. (ck) (Entered:
                                    08/26/2019)
  08/26/2019                  276   TRANSCRIPT PURCHASE ORDER by Biogen International
                                    GMBH for proceedings held on 8/15/2019 before Judge
                                    Mazzone. (ck) (Entered: 08/26/2019)
  08/28/2019                  277   VACATED based on Order entered 11/27/2019 ORDER
                                    ***SEALED***; ***SEALED*** Signed by Magistrate Judge
                                    James P. Mazzone on 8/28/2019. (Emailed to counsel of record.)
                                    (wrr) Modified on 11/27/2019 (jmm). (Entered: 08/28/2019)




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  08/29/2019                  278   *SEALED* *** SEALED *** by Biogen International GMBH,
                                    Biogen MA, Inc.. (Attachments: # 1 Attachment Memorandum
                                    in Support of Motion for Summary Judgment, # 2 Attachment
                                    Declaration of Andrew Renison in Support of Motion, # 3
                                    Exhibit 1 to Declaration, # 4 Exhibit 2 to Declaration, # 5
                                    Exhibit 3 to Declaration, # 6 Exhibit 4 (Part 1) to Declaration, #
                                    7 Exhibit 4 (Part 2) to Declaration, # 8 Exhibit 4 (Part 3) to
                                    Declaration, # 9 Exhibit 4 (Part 4) to Declaration, # 10 Exhibit 4
                                    (Part 5) to Declaration, # 11 Exhibit 4 (Part 6) to Declaration, #
                                    12 Exhibit 5 to Declaration, # 13 Exhibit 6 to Declaration)
                                    (Companion, James) (Entered: 08/29/2019)
  09/03/2019                  279   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 8/15/2019 before
                                    Judge Mazzone. (ck) (Entered: 09/03/2019)
  09/11/2019                  280   *** SEALED *** APPEAL OF MAGISTRATE JUDGE
                                    DECISION to the District Court by Mylan Pharmaceuticals Inc.
                                    re 277 Order . (Attachments: # 1 Exhibit Exs.
                                    4,4A,4B,6,6A,6B,7,7A,7B,8,8A,8B, # 2 Exhibit Ex. 9, # 3
                                    Exhibit Ex. 9B, # 4 Exhibit Exs. 11,11A,11B)(Copland, Gordon)
                                    Modified on 9/12/2019 to correct docket text.(cmd) (Entered:
                                    09/11/2019)
  09/12/2019                        (Court only) ***Motions terminated: Document not a motion.
                                    Attorney had to use Motion (Sealed) as there are no sealed
                                    events for Appeal of MJ Decision to District Court. (cmd)
                                    (Entered: 09/12/2019)
  09/25/2019                  281   *SEALED* MOTION to Seal Plaintiffs' Opposition to
                                    Defendant's Objection to the Order Denying Defendant's Motion
                                    for Relief from the Stipulated Protective Order by Biogen
                                    International GMBH, Biogen MA, Inc.. (Attachments: # 1
                                    Attachment Plaintiffs' Opposition to Defendant's Objection to
                                    the Order Denying Defendant's Motion for Relief from the
                                    Stipulated Protective Order, # 2 Text of Proposed Order
                                    Granting Motion for Leave to File Under Seal)(Companion,
                                    James) (Entered: 09/25/2019)
  09/25/2019                  282   ORDER GRANTING 281 MOTION FOR LEAVE TO FILE
                                    UNDER SEAL PLAINTIFFS' OPPOSITION TO
                                    DEFENDANT'S OBJECTION TO THE ORDER DENYING
                                    DEFENDANT'S MOTION FOR REVIEW FROM THE
                                    STIPULATED PROTECTIVE ORDER. Signed by Senior
                                    Judge Irene M. Keeley on 9/25/2019. (wrr) (Entered:
                                    09/25/2019)
  09/25/2019                  283   *SEALED* DOCUMENT filed by Plaintiffs pursuant to 282
                                    Order. (wrr) (Entered: 09/25/2019)
  09/28/2019                  284   CERTIFICATE OF SERVICE by Mylan Pharmaceuticals Inc.




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                                    (Second Amended Invalidity Contentions). (O'Brien, William)
                                    (Entered: 09/28/2019)
  10/02/2019                  285   *SEALED* *** SEALED *** by Mylan Pharmaceuticals Inc..
                                    (O'Brien, William) (Entered: 10/02/2019)
  10/03/2019                        (Court only) ***Motions terminated: DE 285 inadvertently filed
                                    as a motion by attorney, terminated per IMK. (wrr) (Entered:
                                    10/03/2019)
  10/07/2019                  286   STIPULATION and proposed order regarding infringement by
                                    Mylan Pharmaceuticals Inc.. (Copland, Gordon) (Entered:
                                    10/07/2019)
  10/07/2019                  287   Joint MOTION for Extension of Time to File response brief on
                                    Summary Judgment as to Infringement by Mylan
                                    Pharmaceuticals Inc.. (Attachments: # 1 Text of Proposed
                                    Order)(Copland, Gordon) (Entered: 10/07/2019)
  10/08/2019                  288   JOINT STIPULATION AND ORDER REGARDING
                                    INFRINGEMENT AND ASSERTED CLAIMS. Signed by
                                    Senior Judge Irene M. Keeley on 10/8/2019. (wrr) (Entered:
                                    10/08/2019)
  10/08/2019                  289   ORDER granting 287 Joint Motion. It is hereby ORDERED that
                                    the deadline for Responses to Dispositive Motions, set in a prior
                                    56 Scheduling Order, is amended to October 14, 2019. No other
                                    scheduling deadlines are changed or affected by this Order.
                                    Signed by Senior Judge Irene M. Keeley on 10/8/2019. (wrr)
                                    (Entered: 10/08/2019)
  10/14/2019                  290   Notice of Withdrawal of Plaintiffs' Motion for Summary
                                    Judgment of Infringement Other Document filed by Biogen
                                    International GMBH, Biogen MA, Inc.. (Companion, James)
                                    (Entered: 10/14/2019)
  10/15/2019                  291   *SEALED* ORDER DENYING AS MOOT PLAINTIFFS'
                                    MOTION FOR SUMMARY JUDGMENT [DKT. NO. 278 ].
                                    Signed by Senior Judge Irene M. Keeley on 10/15/2019.
                                    (Emailed to counsel of record.)(wrr) Modified on 10/15/2019 to
                                    correct docket text (wrr). NEF regenerated. (Entered:
                                    10/15/2019)
  10/28/2019                  292   NOTICE by Mylan Pharmaceuticals Inc. of Supplemental
                                    Authority Regarding Doc #280 -Mylan objection to Mag. Judge
                                    Order (Attachments: # 1 Exhibit Copy of Redacted Order)
                                    (Copland, Gordon) (Entered: 10/28/2019)
  11/04/2019                  293   Plaintiffs' Response to Defendant's Notice of Supplemental
                                    Authority Other Document filed by Biogen International
                                    GMBH, Biogen MA, Inc.. (Companion, James) (Entered:
                                    11/04/2019)




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  11/27/2019                  294   MEMORANDUM OPINION AND ORDER SUSTAINING
                                    THE DEFENDANTS OBJECTIONS DKT. NO. 280 ,
                                    VACATING THE DISCOVERY ORDER DKT. NO. 277 ,
                                    AND GRANTING IN PART THE DEFENDANTS MOTION
                                    FOR RELIEF DKT. NO. 243 . Signed by Senior Judge Irene M.
                                    Keeley on 11/27/2019. (emailed counsel of record) (jmm)
                                    Modified on 12/18/2019 (mh). (Unsealed per 297 Order entered
                                    on 12/18/19. NEF regen. (Entered: 11/27/2019)
  12/17/2019                  295   MOTION to Unseal Document 294 Sealed Order, and to
                                    publicly file order by Mylan Pharmaceuticals Inc.. (Copland,
                                    Gordon) (Entered: 12/17/2019)
  12/18/2019                  296   RESPONSE to Motion re 295 MOTION to Unseal Document
                                    294 Sealed Order, and to publicly file order filed by Biogen
                                    International GMBH, Biogen MA, Inc.. (Law, Sandra) (Entered:
                                    12/18/2019)
  12/18/2019                  297   ORDER GRANTING DEFENDANT'S MOTION TO
                                    PUBLICLY FILE ORDER (DKT. NO. 295 ). The Clerk is
                                    directed to unseal the Court's 11/27/19 294 Memorandum
                                    Opinion and Order. Signed by Senior Judge Irene M. Keeley on
                                    12/18/19. (mh) (Entered: 12/18/2019)
  01/02/2020                  298   ORDER SCHEDULING STATUS CONFERENCE for
                                    1/8/2020 12:30 PM in Judge Keeley Chambers before Senior
                                    Judge Irene M. Keeley. The Court DIRECTS lead counsel for
                                    Mylan to arrange the conference call and provide dial-in
                                    information to all parties and the Court, by email to
                                    candace_levitsky@wvnd.uscourts.gov, no later than Monday,
                                    January 6, 2020, at 12:00 P.M. Signed by Senior Judge Irene M.
                                    Keeley on 1/2/20. (mh) (Entered: 01/02/2020)
  01/03/2020                  299   NOTICE by Mylan Pharmaceuticals Inc. Pursuant to 35 U.S.C.
                                    282 (O'Brien, William) (Entered: 01/03/2020)
  01/06/2020                  300   *SEALED* *** SEALED *** by Mylan Pharmaceuticals Inc..
                                    (Attachments: # 1 Attachment Declaration of Michael A.
                                    Chajon, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4,
                                    # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7)(O'Brien, William)
                                    (Entered: 01/06/2020)
  01/06/2020                  301   *SEALED* *** SEALED *** by Mylan Pharmaceuticals Inc..
                                    (Attachments: # 1 Attachment Declaration of Courtney M.
                                    Prochnow, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                                    Exhibit 4)(O'Brien, William) (Entered: 01/06/2020)
  01/08/2020                  302   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES




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                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Status
                                    Conference held on 1/8/2020. (Court Reporter FTR Tape # CBG
                                    Keeley Biogen v Mylan 1-17cv116 01082020). (dk) (Entered:
                                    01/08/2020)
  01/09/2020                  303   ORDER FOLLOWING STATUS CONFERENCE. The Court
                                    RESCHEDULES the first day of trial from Monday, February 3,
                                    2020, to Tuesday, February 4, 2020; CANCELS trial on
                                    Wednesday, February 5, 2020, with trial continuing on
                                    Thursday, February 6, 2020; and RELOCATES the trial to the
                                    Clarksburg, West Virginia point of holding court for the United
                                    States Bankruptcy Court for the Northern District of West
                                    Virginia, located at 324 West Main Street, Clarksburg, West
                                    Virginia 26301. Signed by Senior Judge Irene M. Keeley on
                                    1/9/2020. (wrr) (Entered: 01/09/2020)
  01/09/2020                        (Court only) Staff notes: Two flash drives, each containing
                                    Defendant's Trial Exhibits to be used at trial, delivered to CBG
                                    clerk's office this day and forwarded to Judge Keeley's
                                    chambers. (wrr) (Entered: 01/09/2020)
  01/09/2020                  304   *SEALED* *** SEALED *** by Biogen International GMBH,
                                    Biogen MA, Inc.. (Attachments: # 1 Attachment EXHIBIT
                                    LIST)(Law, Sandra) (Entered: 01/09/2020)
  01/09/2020                  305   Witness List by Biogen International GMBH, Biogen MA, Inc..
                                    (Law, Sandra) (Entered: 01/09/2020)
  01/09/2020                  306   Plaintiffs' Deposition Designations with Defendant's Counter-
                                    Designations Other Document filed by Biogen International
                                    GMBH, Biogen MA, Inc.. (Law, Sandra) (Entered: 01/09/2020)
  01/09/2020                  307   Witness List by Mylan Pharmaceuticals Inc..(O'Brien, William)
                                    (Entered: 01/09/2020)
  01/09/2020                  308   Mylan's Deposition Designations and Biogen's Counter
                                    Designations ( Other Document ) filed by Mylan
                                    Pharmaceuticals Inc.. (O'Brien, William) (Entered: 01/09/2020)
  01/10/2020                  309   *SEALED* *** SEALED *** by Mylan Pharmaceuticals Inc..
                                    (O'Brien, William) (Entered: 01/10/2020)
  01/10/2020                  310   *SEALED* TRANSCRIPT of Sealed Hearing held on 1/8/2020,
                                    before Judge Keeley. Court Reporter/Transcriber Cindy Knecht,
                                    Telephone number 304.234.3968.. (ck) (Entered: 01/10/2020)
  01/10/2020                        (Court only) ***Motions terminated 304 and 309 determined
                                    not to be motions, per IMK. (wrr) (Entered: 01/10/2020)
  01/14/2020                  311   *SEALED* RESPONSE to Sealed Motion filed by Biogen




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                                    International GMBH, Biogen MA, Inc.. (Attachments: # 1
                                    Attachment Certificate of Service - Plaintiffs' Response to
                                    Defendant's Sealed Motion, # 2 Attachment (SEALED)
                                    Declaration of John Nappi, # 3 Exhibit (SEALED) Exhibit 1, # 4
                                    Exhibit (SEALED) Exhibit 2, # 5 Exhibit (SEALED) Exhibit 3,
                                    # 6 Exhibit (SEALED) Exhibit 4)(Law, Sandra) (Entered:
                                    01/14/2020)
  01/14/2020                  312   *SEALED* RESPONSE to Sealed Motion PLAINTIFFS
                                    OPPOSITION TO DEFENDANTS MOTION IN LIMINE TO
                                    EXCLUDE UNDISCLOSED THEORY TO REBUT INVALIDITY
                                    filed by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Attachment Certificate of Service - Plaintiffs'
                                    Response to Defendant's Sealed Motion - to Exclude
                                    Undisclosed Theory, # 2 Attachment (SEALED) Declaration of
                                    John Nappi, # 3 Exhibit (SEALED) Exhibit 1, # 4 Exhibit
                                    (SEALED) Exhibit 2, # 5 Exhibit (SEALED) Exhibit 3, # 6
                                    Exhibit (SEALED) Exhibit 4, # 7 Exhibit (SEALED) Exhibit 5)
                                    (Law, Sandra) (Entered: 01/14/2020)
  01/15/2020                  313   *SEALED* RESPONSE to Sealed Motion PLAINTIFFS'
                                    OPPOSITION TO DEFENDANT'S MOTION IN LIMINE TO
                                    EXCLUDE UNDISCLOSED FACTS (CORRECTED) filed by
                                    Biogen International GMBH, Biogen MA, Inc.. (Law, Sandra)
                                    (Entered: 01/15/2020)
  01/15/2020                  314   *SEALED* RESPONSE to Sealed Motion PLAINTIFFS'
                                    OPPOSITION TO DEFENDANT'S MOTION IN LIMINE TO
                                    EXCLUDE UNDISCLOSED THEORY TO REBUT INVALIDITY
                                    (CORRECTED) filed by Biogen International GMBH, Biogen
                                    MA, Inc.. (Law, Sandra) (Entered: 01/15/2020)
  01/15/2020                  315   *SEALED* *** SEALED *** Proposed Final Pretrial Order by
                                    Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                    1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                                    Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit
                                    9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13
                                    Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, #
                                    17 Exhibit 17, # 18 Exhibit 18)(Law, Sandra) Modified on
                                    1/16/2020 (cmd). (Entered: 01/15/2020)
  01/16/2020                        (Court only) ***Motions terminated: Document is not a motion.
                                    (cmd) (Entered: 01/16/2020)
  01/16/2020                  316   MOTION for Leave to Appear Pro Hac Vice of Megan L.
                                    Meyers by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Proposed Order)(Companion, James)
                                    (Entered: 01/16/2020)
  01/16/2020                  317   Pro Hac Vice Filing fee: $ 200.00, receipt number
                                    WVNC002837 for Attorney Megan L, Meyers. (jmm) (Entered:




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                                    01/16/2020)
  01/16/2020                  318   ORDER granting 316 Motion for Leave to Appear Pro Hac Vice
                                    for attorney Megan L. Meyers. Signed by Senior Judge Irene M.
                                    Keeley on 1/16/2020. (copy counsel of record)(jmm) (Entered:
                                    01/16/2020)
  01/16/2020                  319   Plaintiffs' Proposed Biographical Sketches of Expert Witnesses
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit,
                                    # 5 Exhibit)(Law, Sandra) Modified on 1/17/2020 (cmd).
                                    (Entered: 01/16/2020)
  01/16/2020                  320   *SEALED* *** SEALED ***Biogen's Objections to Mylan's
                                    Witness List by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Attachment Certificate of Service - Plaintiffs'
                                    Objections to Defendant's Witness List)(Law, Sandra) Modified
                                    on 1/17/2020 (cmd). (Entered: 01/16/2020)
  01/16/2020                  321   *SEALED* *** SEALED *** Plaintiffs' Objections to Mylan's
                                    Proposed Exhibits by Biogen International GMBH, Biogen MA,
                                    Inc.. (Law, Sandra) Modified on 1/17/2020 (cmd). (Entered:
                                    01/16/2020)
  01/16/2020                  322   Plaintiffs' Deposition Designations with Defendant's Counter-
                                    Designations and Objections Other Document filed by Biogen
                                    International GMBH, Biogen MA, Inc.. (Attachments: # 1
                                    Attachment Certificate of Service - Plaintiffs' Deposition
                                    Designations with Defendant's Counter-Designations and
                                    Objections)(Law, Sandra) (Entered: 01/16/2020)
  01/16/2020                  323   Defendant's Expert Witness Biographical Sketches ( Other
                                    Document ) filed by Mylan Pharmaceuticals Inc.. (O'Brien,
                                    William) (Entered: 01/16/2020)
  01/16/2020                  324   *SEALED* *** SEALED *** Defendant's Objections to
                                    Plaintiffs' List of Fact and Expert Witnesses by Mylan
                                    Pharmaceuticals Inc.. (O'Brien, William) Modified on 1/17/2020
                                    (cmd). (Entered: 01/16/2020)
  01/16/2020                  325   *SEALED* *** SEALED *** Defendant's Objections to
                                    Plaintiffs' Trial Exhbiits by Mylan Pharmaceuticals Inc..
                                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(O'Brien, William)
                                    Modified on 1/17/2020 (cmd). (Entered: 01/16/2020)
  01/16/2020                  326   Mylan's Deposition Designations, Biogen's Objections and
                                    Counter-Designations, and Mylan's Objections to Biogen's
                                    Counter-Designations ( Other Document ) filed by Mylan
                                    Pharmaceuticals Inc.. (O'Brien, William) (Entered: 01/16/2020)
  01/16/2020                  327   *SEALED* *** SEALED *** Joint Exhibit List by Biogen
                                    International GMBH, Biogen MA, Inc.. (Law, Sandra) Modified




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                                    on 1/17/2020 (cmd). (Entered: 01/16/2020)
  01/17/2020                        (Court only) ***Motions terminated: 320 321 324 325 327
                                    Documents are not motions. (cmd) (Entered: 01/17/2020)
  01/21/2020                  328   MOTION for Leave to File Reply brief in support of Motion in
                                    Limine - Dkt. No. 301 by Mylan Pharmaceuticals Inc..
                                    (Attachments: # 1 Attachment Ex. A - proposed Reply Brief, # 2
                                    Exhibit Ex. 5 to proposed Reply Brief)(Copland, Gordon)
                                    Modified on 1/22/2020 Attachments sealed per Judge Keeley.
                                    (cmd) (Entered: 01/21/2020)
  01/22/2020                  329   ORDER GRANTING DEFENDANT'S MOTION FOR LEAVE
                                    TO FILE REPLY [DKT. NO. 328 ]. The Court GRANTS the
                                    motion (Dkt. No. 328 ) and DIRECTS the Clerk to file Mylan's
                                    reply brief and supporting exhibit (Dkt. Nos. 328-1, 328-2)
                                    under seal pursuant to the Stipulated Protective Order (Dkt. No.
                                    70 ). Signed by Senior Judge Irene M. Keeley on 1/22/2020.
                                    (wrr) (Entered: 01/22/2020)
  01/22/2020                  330   *SEALED* REPLY BRIEF in Support of 301 Motion of Mylan
                                    Pharmaceuticals Inc. filed under seal pursuant to 329 Order.
                                    (Attachments: # 1 Exhibit 5)(wrr) (Entered: 01/22/2020)
  01/22/2020                  331   *SEALED* Declaration of Michael A. Chajon re: Exhibit 5 to
                                    330 Reply Brief, filed by Mylan Pharmaceuticals. (Sealed per
                                    IMK.) (wrr) (Entered: 01/22/2020)
  01/23/2020                  332   *SEALED* *** SEALED *** by Biogen International GMBH,
                                    Biogen MA, Inc.. (Attachments: # 1 Attachment Sur-Reply
                                    Memorandum of law, # 2 Attachment Sur-Reply Declaration of
                                    John Nappi, # 3 Exhibit 6 to Sur-Reply Declaration)(Law,
                                    Sandra) (Entered: 01/23/2020)
  01/23/2020                  333   ORDER ***SEALED*** denying 332 motion. Signed by
                                    Senior Judge Irene M. Keeley on 1/23/2020. (Emailed copies to
                                    counsel of record.)(wrr) (Entered: 01/23/2020)
  01/23/2020                  334   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Pretrial
                                    Conference held on 1/23/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Entered: 01/23/2020)
  01/23/2020                  335   ORDER FOLLOWING FINAL PRETRIAL CONFERENCE.
                                    The Court GRANTS IN PART AND DENIES IN PART the
                                    motion in limine DE 300 and DENIES Mylans motion in limine




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                                    DK 301 . Signed by Senior Judge Irene M. Keeley on 1/23/2020
                                    (copy counsel of record). (jmm) (Entered: 01/23/2020)
  01/23/2020                        (Court only) ***Motions terminated DE 300 and 301 per order
                                    DE 335 ORDER FOLLOWING FINAL PRETRIAL
                                    CONFERENCE. (jmm) (Entered: 01/23/2020)
  01/24/2020                  336   *SEALED* TRANSCRIPT of Sealed Hearing held on
                                    1/23/2020, before Judge Keeley. Court Reporter/Transcriber
                                    Cindy Knecht, Telephone number 304.234.3968.. (ck) (Entered:
                                    01/24/2020)
  01/24/2020                  337   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 1/8/2020 before
                                    Judge Keeley. (ck) (Entered: 01/24/2020)
  01/24/2020                  338   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 1/23/2020 before
                                    Judge Keeley. (ck) (Entered: 01/24/2020)
  01/27/2020                  339   MOTION for Leave to Appear Pro Hac Vice of Mark Feldstein
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Proposed Order)(Companion, James)
                                    (Entered: 01/27/2020)
  01/27/2020                  340   Pro Hac Filing fee as to Mark Feldstein PAID: $ 200.00, receipt
                                    number WVNC002841. (wrr) (Entered: 01/27/2020)
  01/27/2020                  341   TRANSCRIPT PURCHASE ORDER by Biogen International
                                    GMBH for proceedings held on 1//23/2020 before Judge Keeley.
                                    (ck) (Entered: 01/27/2020)
  01/27/2020                  342   ORDER granting 339 Motion for Leave to Appear Pro Hac
                                    Vice; Attorney Mark J Feldstein for Biogen International
                                    GMBH and Biogen MA, Inc. added. Signed by Senior Judge
                                    Irene M. Keeley on 1/27/2020. (wrr) (Entered: 01/27/2020)
  01/29/2020                  343   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 1/23/2020 before
                                    Judge Keeley. (ck) (Entered: 01/29/2020)
  01/29/2020                  344   Joint MOTION To Permit Entry To The Courthouse With
                                    Electronic Equipment by Mylan Pharmaceuticals Inc..
                                    (Attachments: # 1 Proposed Order)(O'Brien, William) (Entered:
                                    01/29/2020)
  01/29/2020                  345   ORDER GRANTING JOINT 344 MOTION TO PERMIT
                                    ENTRY TO THE COURTHOUSE WITH ELECTRONIC
                                    EQUIPMENT. The Court GRANTS the joint 344 motion and
                                    ORDERS that the parties and their third-party vendor(s) may
                                    enter the courtroom with the types of electronic equipment as set
                                    forth herein. Signed by Senior Judge Irene M. Keeley on




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                                    1/29/2020. (wrr) (Entered: 01/29/2020)
  02/03/2020                  346   *SEALED* *** SEALED *** REVISED JOINT EXHIBIT
                                    LIST by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Exhibit Revised Joint Exhibit List)(Law,
                                    Sandra) Modified docket text on 2/3/2020 per IMK (wrr).
                                    (Entered: 02/03/2020)
  02/03/2020                        (Court only) ***Motions terminated 346 motion per IMK. (wrr)
                                    (Entered: 02/03/2020)
  02/04/2020                  347   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Bench
                                    Trial held on 2/4/2020. (Court Reporter Cindy Knecht) (dk)
                                    (Entered: 02/04/2020)
  02/05/2020                  348   ORDER SCHEDULING STATUS CONFERENCE by
                                    telephone for 2/5/2020 04:30 PM in Judge Keeley Chambers
                                    before Senior Judge Irene M. Keeley. The Court DIRECTS lead
                                    counsel for Mylan to arrange the conference call and provide
                                    dial-in information to all parties and the Court, by email to
                                    candace_levitsky@wvnd.uscourts.gov, no later than Wednesday,
                                    February 5, 2020, at 1:00 P.M. Signed by Senior Judge Irene M.
                                    Keeley on 2/5/20. (mh) (Entered: 02/05/2020)
  02/05/2020                  349   PAPERLESS ORDER. For reasons appearing to the Court, the
                                    Status Conference scheduled on 2/5/2020, is CANCELED.
                                    Signed by Senior Judge Irene M. Keeley on 2/5/2020. (dk)
                                    (Entered: 02/05/2020)
  02/05/2020                  350   PAPERLESS ORDER: (Status Conference set for 2/5/2020,
                                    04:30 PM, before Senior Judge Irene M. Keeley. All parties and
                                    the Court will use the call-in information previously provided by
                                    Defendant's counsel to connect to the call.) Signed by Senior
                                    Judge Irene M. Keeley on 2/5/2020. (cml) (Entered: 02/05/2020)
  02/05/2020                  351   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Status
                                    Conference held on 2/5/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Entered: 02/05/2020)




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  02/06/2020                  352   *SEALED* *** SEALED *** by Biogen International GMBH,
                                    Biogen MA, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                                    3 Exhibit C, # 4 Exhibit D)(Law, Sandra) (Entered: 02/06/2020)
  02/06/2020                  353   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Status
                                    Conference held on 2/6/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Entered: 02/06/2020)
  02/06/2020                  354   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Bench
                                    Trial Day 2 held on 2/6/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Entered: 02/06/2020)
  02/07/2020                  355   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Bench
                                    Trial Day 3 held on 2/7/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Entered: 02/07/2020)
  02/08/2020                  356   TRANSCRIPT of bench trial, volume 1, held on 2/4/2020,
                                    before Judge Keeley. Court Reporter/Transcriber Cindy Knecht,
                                    Telephone number 304.234.3968. Parties have five business
                                    days to file a Notice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript will become
                                    available via PACER to the public without redaction after 90
                                    calendar days.. Redaction Request due 3/2/2020. Redacted
                                    Transcript Deadline set for 3/10/2020. Release of Transcript
                                    Restriction set for 5/8/2020. (ck) (Entered: 02/08/2020)
  02/08/2020                  357   TRANSCRIPT of telephonic status conference held on
                                    2/5/2020, before Judge Keeley. Court Reporter/Transcriber
                                    Cindy Knecht, Telephone number 304.234.3968. Parties have
                                    five business days to file a Notice of Intent to Request Redaction
                                    of this transcript. If no such Notice is filed, the transcript will
                                    become available via PACER to the public without redaction




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                                    after 90 calendar days.. Redaction Request due 3/2/2020.
                                    Redacted Transcript Deadline set for 3/10/2020. Release of
                                    Transcript Restriction set for 5/8/2020. (ck) (Entered:
                                    02/08/2020)
  02/08/2020                  358   TRANSCRIPT of bench trial, volume 2, held on 2/6/2020,
                                    before Judge Keeley. Court Reporter/Transcriber Cindy Knecht,
                                    Telephone number 304.234.3968. Parties have five business
                                    days to file a Notice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript will become
                                    available via PACER to the public without redaction after 90
                                    calendar days.. Redaction Request due 3/2/2020. Redacted
                                    Transcript Deadline set for 3/10/2020. Release of Transcript
                                    Restriction set for 5/8/2020. (ck) (Entered: 02/08/2020)
  02/08/2020                  359   TRANSCRIPT of bench trial, volume 3, held on 2/7/2020,
                                    before Judge Keeley. Court Reporter/Transcriber Cindy Knecht,
                                    Telephone number 304.234.3968. Parties have five business
                                    days to file a Notice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript will become
                                    available via PACER to the public without redaction after 90
                                    calendar days.. Redaction Request due 3/2/2020. Redacted
                                    Transcript Deadline set for 3/10/2020. Release of Transcript
                                    Restriction set for 5/8/2020. (ck) (Entered: 02/08/2020)
  02/10/2020                  360   ORDER ***SEALED***; ***SEALED*** Signed by Senior
                                    Judge Irene M. Keeley on 2/10/2020. (Emailed to counsel of
                                    record.)(Sealed per IMK.)(wrr) (Entered: 02/10/2020)
  02/10/2020                  361   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Bench
                                    Trial - Day 4 held on 2/10/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Main Document 361 replaced with correct document on
                                    2/10/2020) (dk). (Entered: 02/10/2020)
  02/10/2020                  369   Clerk's Trial Witness and Exhibit List. (dk) (Entered:
                                    02/25/2020)
  02/11/2020                  362   TRANSCRIPT of bench trial, Volume 4, held on 2/10/2020,
                                    before Judge Keeley. Court Reporter/Transcriber Cindy Knecht,
                                    Telephone number 304.234.3968. Parties have five business
                                    days to file a Notice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript will become
                                    available via PACER to the public without redaction after 90
                                    calendar days.. Redaction Request due 3/3/2020. Redacted




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                                    Transcript Deadline set for 3/13/2020. Release of Transcript
                                    Restriction set for 5/11/2020. (ck) (Entered: 02/11/2020)
  02/13/2020                  363   ORDER FOLLOWING BENCH TRIAL. Court DIRECTS
                                    Mylan to file its opening brief on Friday, March 6, 2020; Biogen
                                    to file its response brief on Friday, April 3, 2020; Mylan to file
                                    its reply brief on Friday, April 17, 2020; and DIRECTS the
                                    parties, before Friday, February 21, 2020, to submit three
                                    alternative dates for oral argument on the parties post-trial
                                    briefing. Signed by Senior Judge Irene M. Keeley on 2/13/2020
                                    (copy counsel of record) (jmm) (Entered: 02/13/2020)
  02/13/2020                  364   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 2/4/2020 to
                                    2/10/2020 before Judge Keeley. (ck) (Entered: 02/13/2020)
  02/13/2020                  365   TRANSCRIPT PURCHASE ORDER by Biogen International
                                    GMBH for proceedings held on 2/4/2020 to 2/10/2020 before
                                    Judge Keeley. (ck) (Entered: 02/13/2020)
  02/13/2020                  366   TRANSCRIPT PURCHASE ORDER for proceedings held on
                                    2/4/2020 to 2/10/2020 before Judge Keeley. (ck) (Entered:
                                    02/13/2020)
  02/14/2020                  367   NOTICE by Biogen International GMBH, Biogen MA, Inc. of
                                    Intent to Request Redaction (Law, Sandra) (Entered:
                                    02/14/2020)
  02/14/2020                  368   ORDER SCHEDULING ORAL ARGUMENT. Based on the
                                    parties' joint submission, the Court SCHEDULES closing
                                    arguments and oral argument on the post-trial briefing for
                                    Wednesday, April 29, 2020, at 1:00 P.M. Signed by Senior
                                    Judge Irene M. Keeley on 2/14/2020. (wrr) (Entered:
                                    02/14/2020)
  03/03/2020                  370   MOTION to Withdraw as Counsel of Attorney Sanya Sukduang
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Proposed Order)(Law, Sandra) (Entered:
                                    03/03/2020)
  03/03/2020                  371   ORDER. The Court GRANTS 370 Motion for Leave to
                                    Withdraw Counsel and ORDERS Sanya Sukduang hereby
                                    withdrawn as counsel for Plaintiffs in this matter. Signed by
                                    Senior Judge Irene M. Keeley on 5/3/2020. (wrr) (Entered:
                                    03/03/2020)
  03/05/2020                  372   NOTICE by Biogen International GMBH, Biogen MA, Inc. of
                                    Plaintiffs' Withdrawal of Intent to Request Redaction (Law,
                                    Sandra) (Entered: 03/05/2020)
  03/05/2020                  373   MOTION for Leave to Appear pro hac vice by Andrew Dufresne
                                    by Mylan Pharmaceuticals Inc.. (Attachments: # 1 Proposed




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                                    Order Proposed Order granting admission)(Copland, Gordon)
                                    (Entered: 03/05/2020)
  03/06/2020                  374   Pro Hac Vice Filing fee as to Andrew T. Dufresne: PAID $
                                    200.00, receipt number WVNC002879. (wrr) (Entered:
                                    03/06/2020)
  03/06/2020                  375   ORDER granting 373 Motion for Leave to Appear Pro Hac Vice
                                    for Attorney Andrew T. Dufresne. Signed by Senior Judge Irene
                                    M. Keeley on 3/6/2020. (Copy counsel of record)(jmm)
                                    (Entered: 03/06/2020)
  03/06/2020                  376   Post-Trial Brief ( Other Document ) filed by Mylan
                                    Pharmaceuticals Inc.. (Attachments: # 1 Appendix 1)(O'Brien,
                                    William) (Entered: 03/06/2020)
  03/11/2020                        (Court only) Staff notes: Two copies of defendant Mylan
                                    Pharmaceuticals Inc.'s Exhibits to 376 Post-Trial Brief received.
                                    One copy to be provided to IMK, one copy held in clerk's office.
                                    (wrr) (Entered: 03/11/2020)
  04/03/2020                  377   RESPONSE in Opposition re 376 Biogen's Responsive Post-
                                    Trial Brief filed by Biogen International GMBH, Biogen MA,
                                    Inc. (Law, Sandra) Modified on 4/6/2020 to correct link to Brief
                                    (cmd). (Entered: 04/03/2020)
  04/10/2020                  378   Consent MOTION enlargment of page limit for post-trial reply
                                    brief by Mylan Pharmaceuticals Inc.. (Attachments: # 1
                                    Proposed Order)(Copland, Gordon) (Entered: 04/10/2020)
  04/13/2020                  379   ORDER GRANTING ENLARGEMENT OF REPLY BRIEF
                                    LENGTH. The Court is of the opinion to and does hereby
                                    GRANT the 378 motion and ORDERS that the post-trial reply
                                    brief of Mylan may be up twenty-five (25) pages in length.
                                    Signed by Senior Judge Irene M. Keeley on 4/13/2020. (wrr)
                                    (Entered: 04/13/2020)
  04/16/2020                  380   MOTION to Continue Closing Arguments by Biogen
                                    International GMBH, Biogen MA, Inc.. (Attachments: # 1
                                    Proposed Order)(Law, Sandra) (Entered: 04/16/2020)
  04/16/2020                  381   RESPONSE in Opposition re 380 MOTION to Continue
                                    Closing Arguments filed by Mylan Pharmaceuticals Inc..
                                    (Copland, Gordon) (Entered: 04/16/2020)
  04/17/2020                  382   RESPONSE by Biogen International GMBH, Biogen MA, Inc.
                                    to 381 Response in Opposition to Motion. (Companion, James)
                                    (Entered: 04/17/2020)
  04/17/2020                  383   ORDER DENYING PLAINTIFFS' MOTION TO CONTINUE
                                    CLOSING ARGUMENTS [DKT. NO. 380 ]. The Court
                                    DENIES Biogen's motion (Dkt. No. 380 ). Because the closing




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                                    arguments will proceed by video, all binders or physical exhibits
                                    must be delivered to Chambers on or before Tuesday, April 28,
                                    2020. Signed by Senior Judge Irene M. Keeley on 4/17/2020.
                                    (wrr) (Entered: 04/17/2020)
  04/17/2020                  384   MEMORANDUM Post-trial Reply Brief by Mylan
                                    Pharmaceuticals Inc. . (Copland, Gordon) (Entered: 04/17/2020)
  04/29/2020                  385   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.

                                    Proceedings held before Senior Judge Irene M. Keeley. Bench
                                    Trial completed on 4/29/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Entered: 04/29/2020)
  05/01/2020                  386   TRANSCRIPT of Proceedings held on 4/29/2020, before Judge
                                    Keeley. Court Reporter/Transcriber Cindy Knecht, Telephone
                                    number 304.234.3968. Parties have five business days to file a
                                    Notice of Intent to Request Redaction of this transcript. If no
                                    such Notice is filed, the transcript will become available via
                                    PACER to the public without redaction after 90 calendar days..
                                    Redaction Request due 5/22/2020. Redacted Transcript Deadline
                                    set for 6/1/2020. Release of Transcript Restriction set for
                                    7/30/2020. (ck) (Entered: 05/01/2020)
  05/05/2020                  387   Other Document Plaintiffs' Supplemental Authority filed by
                                    Biogen International GMBH, Biogen MA, Inc.. (Attachments: #
                                    1 Attachment Certificate of Service - Plaintiffs' Supplemental
                                    Authority)(Law, Sandra) (Entered: 05/05/2020)
  05/07/2020                  388   MEMORANDUM of Supplemental Authority by Mylan
                                    Pharmaceuticals Inc. . (Copland, Gordon) (Entered: 05/07/2020)
  05/07/2020                  389   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 4/29/2020 before
                                    Judge Keeley. (ck) (Entered: 05/07/2020)
  05/07/2020                  390   TRANSCRIPT PURCHASE ORDER by Biogen International
                                    GMBH for proceedings held on 4/29/2020 before Judge Keeley.
                                    (ck) (Entered: 05/07/2020)
  05/08/2020                  391   MOTION to Withdraw as Attorney of John E. Nappi by Biogen
                                    International GMBH, Biogen MA, Inc.. (Attachments: # 1
                                    Attachment Certificate of Service - Motion to Withdraw, # 2
                                    Proposed Order)(Companion, James) (Entered: 05/08/2020)
  05/08/2020                  392   ORDER. The Court GRANTS 391 Motion for Leave to
                                    Withdraw Counsel and ORDERS John E. Nappi hereby




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                                    withdrawn as counsel for Plaintiffs in this matter. Signed by
                                    Senior Judge Irene M. Keeley on 5/8/2020. (wrr) (Entered:
                                    05/08/2020)
  06/01/2020                  393   TRANSCRIPT PURCHASE ORDER for proceedings held on
                                    4/29/2020 before Judge Keeley. (ck) (Entered: 06/01/2020)
  06/11/2020                  394   TRANSCRIPT PURCHASE ORDER for proceedings held on
                                    4/29/2020 before Judge Keeley. (ck) (Entered: 06/11/2020)
  06/11/2020                  395   TRANSCRIPT PURCHASE ORDER for proceedings held on
                                    4/29/2020 before Judge Keeley. (ck) (Entered: 06/11/2020)
  06/11/2020                  396   TRANSCRIPT PURCHASE ORDER for proceedings held on
                                    4/29/2020 before Judge Keeley. (ck) (Entered: 06/11/2020)
  06/17/2020                  397   TRANSCRIPT PURCHASE ORDER for proceedings held on
                                    4/29/2020 before Judge Keeley. (ck) (Entered: 06/17/2020)
  06/17/2020                  398   TRANSCRIPT PURCHASE ORDER for proceedings held on
                                    4/29/2020 before Judge Keeley. (ck) (Entered: 06/17/2020)
  06/17/2020                  399   ORDER SCHEDULING STATUS CONFERENCE. The Court
                                    SCHEDULES a status conference for Friday, June 19, 2020, at
                                    8:30 A.M., by telephone, to address the stay of the parties'
                                    remaining claims, counterclaims, and defenses regarding the
                                    '001 Patent. The Court DIRECTS lead counsel for Mylan to
                                    arrange the conference call and provide dial-in information to all
                                    parties and the Court, by email, no later than Thursday, June 18,
                                    2020, at 1:00 P.M. Signed by Senior Judge Irene M. Keeley on
                                    6/17/2020. (wrr) (Entered: 06/17/2020)
  06/18/2020                  400   MEMORANDUM OPINION AND ORDER MAKING
                                    FINDINGS OF FACT AND GRANTING JUDGMENT IN
                                    FAVOR OF THE DEFENDANT, MYLAN
                                    PHARMACEUTICALS INC. The Court FINDS that Mylan has
                                    satisfied its burden of demonstrating, by clear and convincing
                                    evidence, that the asserted claims of the '514 Patent are invalid
                                    for lack of written description under § 112. Signed by Senior
                                    Judge Irene M. Keeley on 6/18/2020. (wrr) (Entered:
                                    06/18/2020)
  06/18/2020                  401   MOTION for Entry of Judgment under Rule 54(b) by Mylan
                                    Pharmaceuticals Inc.. (Attachments: # 1 Exhibit A)(O'Brien,
                                    William) (Entered: 06/18/2020)
  06/19/2020                  402   MINUTE ENTRY:

                                    ***NOTICE*** THE ATTACHED DOCUMENT IS NOT
                                    ACCESSIBLE. IT IS FOR STATISTICAL PURPOSES
                                    ONLY.




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                                    Proceedings held before Senior Judge Irene M. Keeley. Status
                                    Conference held on 6/19/2020. (Court Reporter Cindy Knecht)
                                    (dk) (Entered: 06/19/2020)
  06/19/2020                  403   TRANSCRIPT of Proceedings held on 6/19/2020, before Judge
                                    Keeley. Court Reporter/Transcriber Cindy Knecht, Telephone
                                    number 304.234.3968. Parties have five business days to file a
                                    Notice of Intent to Request Redaction of this transcript. If no
                                    such Notice is filed, the transcript will become available via
                                    PACER to the public without redaction after 90 calendar days..
                                    Redaction Request due 7/10/2020. Redacted Transcript Deadline
                                    set for 7/20/2020. Release of Transcript Restriction set for
                                    9/17/2020. (ck) (Main Document 403 replaced on 6/22/2020
                                    with correct transcript) (kac). (Entered: 06/19/2020)
  06/19/2020                  404   TRANSCRIPT PURCHASE ORDER by Biogen International
                                    GMBH for proceedings held on 6/19/2020 before Judge Keeley.
                                    (ck) (Entered: 06/19/2020)
  06/19/2020                  405   TRANSCRIPT PURCHASE ORDER by Mylan
                                    Pharmaceuticals Inc. for proceedings held on 6/19/2020 before
                                    Judge Keeley. (ck) (Entered: 06/19/2020)
  06/22/2020                  406   MOTION for Leave to Appear Pro Hac Vice of William F. Lee
                                    by Biogen International GMBH, Biogen MA, Inc..
                                    (Attachments: # 1 Proposed Order)(Companion, James)
                                    (Entered: 06/22/2020)
  06/22/2020                  407   *SEALED* MOTION to Seal by Biogen International GMBH,
                                    Biogen MA, Inc.. (Attachments: # 1 Proposed Order Granting
                                    Motion for Leave to File Under Seal, # 2 Attachment Motion for
                                    Injunctive Relief, # 3 Attachment Supporting Memorandum re
                                    Injunctive Relief, # 4 Proposed Order Granting an Injunction, #
                                    5 Proposed Order Granting a Temporary Injunction, # 6
                                    Attachment Declaration of J. Roorda, # 7 Exhibit 1 to
                                    Declaration, # 8 Exhibit 2 to Declaration, # 9 Attachment
                                    Certificate of Service)(Companion, James) (Entered:
                                    06/22/2020)
  06/22/2020                  408   *SEALED* *** SEALED ***Mylan's Preliminary Opposition
                                    to 411 Biogen's Motion for Injuctive Relief pending Appeal by
                                    Mylan Pharmaceuticals Inc.. (Attachments: # 1 Attachment
                                    Declaration of Courtney M. Prochnow, # 2 Exhibit 1, # 3
                                    Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5)(O'Brien,
                                    William) Modified on 6/24/2020 to correct entry as this is not a
                                    motion. (cmd). (Entered: 06/22/2020)
  06/22/2020                  409   ORDER DISMISSING CLAIMS REGARDING U.S. PATENT
                                    NO. 7,619,001. Having confirmed with the parties that U.S.
                                    Patent No. 7,619,001 (the '001 Patent) expired on June 20, 2020,
                                    the Court DISMISSES AS MOOT the remaining claims,




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                                    counterclaims, and defenses in this case relating to the '001
                                    Patent. Signed by Senior Judge Irene M. Keeley on 6/22/2020.
                                    (wrr) (Entered: 06/22/2020)
  06/22/2020                  410   ORDER granting 407 Motion to Seal; ***SEALED*** Signed
                                    by Senior Judge Irene M. Keeley on 6/22/2020. (Emailed to
                                    counsel of record.)(wrr) (Entered: 06/22/2020)
  06/22/2020                  411   *SEALED* *** SEALED *** by Biogen International GMBH,
                                    Biogen MA, Inc. (Attachments: # 1 Attachment Memorandum, #
                                    2 Proposed Order Granting Injunction, # 3 Proposed Order
                                    Granting a Temporary Injunction, # 4 Attachment Declaration of
                                    J. Roorda, # 5 Exhibit 1 to Declaration, # 6 Exhibit 2 to
                                    Declaration)(Filed pursuant to 410 Order.)(wrr) (Entered:
                                    06/22/2020)
  06/22/2020                  412   ORDER GRANTING MOTION FOR FINAL JUDGMENT
                                    [DKT. NO. 401 ]. The Court has dismissed the remaining claims
                                    involving U.S. Patent No. 7,619,001 (Dkt. No. 409 ), and found
                                    that the asserted claims of U.S. Patent No. 8,399,514 are invalid
                                    for lack of written description under 35 U.S.C. § 112 (Dkt. No.
                                    400 ), therefore, no claims remain in this case. The Court
                                    GRANTS Mylan's Motion and DIRECTS the Clerk to enter a
                                    separate judgment order in favor of Mylan pursuant to Federal
                                    Rule of Civil Procedure 58. Signed by Senior Judge Irene M.
                                    Keeley on 6/22/2020. (wrr) (Entered: 06/22/2020)
  06/22/2020                  413   CLERK'S JUDGMENT in favor of Mylan Pharmaceuticals Inc.
                                    against Biogen International GMBH, Biogen MA, Inc. Signed
                                    by Clerk of Court on 6/22/2020. (wrr) (Entered: 06/22/2020)
  06/22/2020                        (Court only) ***Civil Case Terminated. (wrr) (Entered:
                                    06/24/2020)
  06/23/2020                  414   Pro Hac Vice Filing fee as to William F. Lee: PAID $ 200.00,
                                    receipt number WVNC002965. (wrr) (Main Document 414
                                    replaced on 6/23/2020 with corrected document) (wrr). NEF
                                    regenerated. (Entered: 06/23/2020)
  06/23/2020                  415   ORDER granting 406 Motion for Leave to Appear Pro Hac
                                    Vice; Attorney William F Lee for Biogen International GMBH
                                    and Biogen MA, Inc. added. Signed by Senior Judge Irene M.
                                    Keeley on 6/23/2020. (wrr) (Entered: 06/23/2020)
  06/23/2020                  416   NOTICE OF APPEAL by Biogen International GMBH, Biogen
                                    MA, Inc.. Filing fee $; 505, receipt number 0424-3062468.
                                    (Companion, James) (Entered: 06/23/2020)
  06/24/2020                  417   Transmission of Notice of Appeal and Docket Sheet to US Court
                                    of Appeals Federal Circuit re 416 Notice of Appeal. (wrr)
                                    Modified on 6/25/2020 (email along with DE 416 to Notice of




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                                    appeal to appeal@cafc.uscourts.gov) (cmd). (Entered:
                                    06/24/2020)
  06/24/2020                  418   REPORT to USPTO on the filing or determination of an action
                                    regarding re: 413 Clerk's Judgment, 412 Order on Motion for
                                    Entry of Judgment under Rule 54(b). (wrr) (Entered:
                                    06/24/2020)
  06/24/2020                        (Court only) ***Motions terminated: Motion DE# 408 is a
                                    response not a motion. (cmd) (Entered: 06/24/2020)




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

    BIOGEN INTERNATIONAL GMBH and
    BIOGEN MA, INC.,

                      Plaintiffs,

    v.                                            CIVIL ACTION NO. 1:17CV116
                                                        (Judge Keeley)

    MYLAN PHARMACEUTICALS INC.,

                      Defendant.

          ORDER GRANTING MOTION FOR FINAL JUDGMENT [DKT. NO. 401]

          On June 18, 2020, the defendant, Mylan Pharmaceuticals Inc.

    (“Mylan”), moved for an entry of final judgment under Federal Rule

    of Civil Procedure 54(b) (Dkt. No. 401). Under Rule 54(b), “the

    court may direct entry of a final judgment as to one or more, but

    fewer than all, claims or parties only if the court expressly

    determines that there is no just reason for delay.”

          Because the Court has dismissed the remaining claims involving

    U.S. Patent No. 7,619,001 (Dkt. No. 409), and found that the

    asserted claims of U.S. Patent No. 8,399,514 are invalid for lack

    of written description under 35 U.S.C. § 112 (Dkt. No. 400), no

    claims remain in this case. Accordingly, the Court GRANTS Mylan’s

    Motion and DIRECTS the Clerk to enter a separate judgment order in

    favor of Mylan pursuant to Federal Rule of Civil Procedure 58.1

          1
            After considering the parties’ supplemental briefs
    (Dkt. Nos. 408, 411), the Court declines to impose a five-day
    notice requirement in advance of Mylan’s anticipated launch. This
    ruling, however, does not preclude the plaintiffs’ right to seek
    injunctive relief under Federal Rule of Civil Procedure 62(d),
    Federal Rule of Appellate Procedure 8(a)(1)(C), and Federal Circuit
    Rule of Practice 8(d).
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    BIOGEN INT’L GMBH, ET AL. V. MYLAN PHARM. INC.                     1:17CV116

          ORDER GRANTING MOTION FOR FINAL JUDGMENT [DKT. NO. 401]

          It is so ORDERED.

          The Court DIRECTS the Clerk to transmit copies of this Order

    to counsel of record.

    DATED: June 22, 2020

                                             /s/ Irene M. Keeley
                                             IRENE M. KEELEY
                                             UNITED STATES DISTRICT JUDGE




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